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13
                        UNITED STATES DISTRICT COURT
14                     CENTRAL DISTRICT OF CALIFORNIA
15    FEDERAL TRADE COMMISSION, ) Case No. 8:20-cv-01431-PSG-KES
                                            )
16                      Plaintiff,          )
17                                          ) STATEMENT OF UNDISPUTED
                        v.                  ) MATERIAL FACTS IN SUPPORT
18                                          ) OF MOTION FOR SUMMARY
19    QYK BRANDS LLC d/b/a Glowyy, ) JUDGMENT
      et al.                                )
20
                                            ) Magistrate: Hon. Karen E. Scott
21                     Defendants.          ) Hearing Date: April 1, 2022
22                                          ) Time: 1:30p.m.
                                            ) Courtroom: 6A
23                                          )
24                                          ) Discovery Cutoff: December 1, 2021
                                            ) Pretrial Conference: April 15, 2022
25                                          ) Trial Date: April 22, 2022
26                                          )
                                            )
27
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1
2              Plaintiff Federal Trade Commission (“FTC”) hereby files the following

3    Statement of Undisputed Facts in accordance with Local Rule 56-1:

4
5     Statement of Undisputed Fact (“SUF”)            Supporting Evidence
6     INTRODUCTION
7            1. On March 11, 2020, the World          PX 16, Declaration of Katherine
8               Health Organization’s Director-       Johnson (“Johnson Decl.”) ¶ 4.
9               General declared that the disease
10              caused by the novel coronavirus
11              SARS-CoV-2 (“COVID-19”)
12              could be characterized as a
13              pandemic (“COVID-19 Pandemic”
14              or “Pandemic”).
15      I.      THE DEFENDANTS
16           2. On August 4, 2020, the FTC filed      PX 16, Att. A (Complaint, ECF No.
17              this case against four Defendants:    1).
18              QYK Brands LLC, d/b/a
19              Glowyy.com (“QYK”); Rakesh
20              Tammabattula, QYK’s Founder
21              and Chief Executive Officer
22              (“CEO”); DRJSNATURAL LLC,
23              (“Dr. J’s Natural” or “DJN”); and
24              Jacqueline Nguyen, CEO of Dr. J’s
25              Natural and officer of QYK
26              alleging that they violated Section
27              5(a) of the FTC Act, 15 U.S.C. §
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1           45(a), and the FTC’s Mail,
2           Internet, or Telephone Order
3           Merchandise Rule (“MITOR”), 16
4           C.F.R. Part 435.
5        3. Plaintiff filed its First Amended       PX 16, Att. C (First Amended
6           Complaint on May 19, 2021 adding Complaint [“FAC”], ECF No. 73).
7           two corporate defendants, Theo
8           Pharmaceuticals, Inc. and EASII,
9           Inc., and alleging all corporate
10          defendants operated as a common
11          enterprise.
12       4. QYK Brands, LLC d/b/a Glowyy            PX 16, Att. D (Ans. to FAC, ECF No.
13          is a California Limited Liability       129) ¶ 6.
14          Company formed in 2017 with its
15          principal place of business in
16          Anaheim, California.
17       5. QYK transacts business within the       PX 16, Att. D, Ans. to FAC ¶ 6;
18          district.                               PX 16, Att. E (Relevant Portions of
19                                                  Defendant QYK’s Responses to
20                                                  FTC’s Request for Admissions
21                                                  [“QYKRFA Resp.”]) No. 3.
22       6. QYK and DJN were located at             PX 16, Att. O, 8/18/21 JN Dep. Tr.
23          10517 Garden Grove Blvd, Garden         36:1-13;
24          Grove, CA until approximately           PX 16, Att. O, 8/18/21 JN Dep. Tr.
25          May 2020.                               38:9-13;
26                                                  PX 16, Att. G, (Relevant Portions of
27                                                  Jacqueline Nguyen’s Responses to
28
                                                2
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1                                                    the FTC’s RFAs, [“JN RFA Resp.”])
2                                                    No. 39.
3        7. QYK moved to 3373 E. La Palma            PX 16, Att. K, 8/16/21 RT Dep. Tr.
4           Blvd., Anaheim, CA in                    146:10-148:11.
5           approximately May 2020.
6        8. In approximately November 2020,          PX 16, Att. K, 8/16/21 RT Dep. Tr.
7           QYK moved to 12101 Western               140:11-16.
8           Ave., Anaheim, CA.
9        9. In approximately January 2021,           PX 16, Att. K, 8/16/21 RT Dep. Tr.
10          DJN also moved to 12101 Western          140: 17-20.
11          Ave., Anaheim, CA.
12       10.Defendant Tammabattula and Dr.           PX 16, Att. D, Ans. to FAC. ¶ 20;
13          J, through the Corporate                 PX 16, Att. K, 8/16/21 RT Dep. Tr.
14          Defendants, own multiple brands          152:25-153:2;
15          and companies that sell skin care,       PX 17, Stipulation of Facts as to
16          health, beauty, personal care, and       Common Enterprise (“Stipulation”),
17          wellness products, including             ¶¶ 3-6.
18          through its websites qyk.us,
19          qyksonic.com, glowyy.com, and
20          drjsnatural.com.
21       11. During the relevant time, QYK did PX 16, Att. D, Ans. to FAC ¶ 6;
22          business through the website             PX 16, Att. E, QYK RFA Resp. No.
23          www.glowyy.com                           4;
24                                                   PX 16, Att. K, 8/16/21 RT Dep. Tr.
25                                                   152:25-153:2.
26       12.Glowyy is an online storefront           PX 16, Att. D, Ans. to FAC. ¶ 21;
27          operating through the website
28
                                                 3
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1           glowyy.com, which offers various          PX 16, Att. E, QYK RFA Resp. No.
2           brands of beauty, skin, personal          5;
3           care, and PPE products. Glowyy            PX 16, Att. K, 8/16/21 RT Dep. Tr.
4           launched in March 2020.                   104:8-105:8; 149:14-150:10.
5        13.Rakesh Tammabattula is the                PX 16, Att. D, Ans. to FAC ¶¶ 10, 14,
6           CEO and founder of QYK and                20;
7           several other entities in the tech,       PX 17, Stipulation ¶¶ 3, 4.
8           beauty, wellness, and personal care
9           industries, including the Theo
10          Pharmacy online prescription
11          fulfillment service.
12       14.Mr. Tammabattula resides in the           PX 16, Att. D, Ans. to FAC ¶ 10;
13          district.                                 PX 17, Stipulation ¶ 5.
14       15.In connection with the matters            PX 16, Att. D, Ans. to FAC. ¶ 10;
15          alleged in the First Amended              PX 17, Stipulation ¶ 5.
16          Complaint (ECF No. 73, “FAC”),
17          Defendant Tammabattula transacts
18          or has transacted business in this
19          District and throughout the United
20          States.
21       16.Dr. J’s Natural, LLC is a                 PX 16, Att. D, Ans. to FAC ¶ 7;
22          California Limited Liability              PX 16, Att. O, 8/18/21 JN Dep. Tr.
23          Company, headquartered in Garden 35:12-21.
24          Grove, CA, and formed in March
25          2020.
26
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1        17.Dr. J’s Natural or DJN sells            PX 16, Att. D, Ans. to FAC ¶ 20;
2           products through its website,           PX 16, Att. O, 8/18/21 JN Dep. Tr.
3           drjsnatural.com.                        38:14-25.
4        18.QYK promotes products from Dr.          PX 16, Att. D, Ans. to FAC ¶¶ 20, 21;
5           J’s Natural through Glowyy.             PX 16, Att. E, QYK RFA Resp. No.
6                                                   7.
7        19.Jacqueline Thao Nguyen (aka             PX 16, Att. O, 8/18/21 JN Dep. Tr.
8           Dr. J) is a “clinical compounding       23:22-24:5; 25:21-26:4;
9           pharmacist”.                            See also PX 1, Decl. of Lashanda
10                                                  Freeman [“Freeman Decl.”], Att. J at
11                                                  4:14-18.
12       20.Defendant Jacqueline Nguyen             PX 16, Att. D, Ans. to FAC ¶ 11;
13          works under the moniker “Dr. J.”        PX 17, Stipulation, ¶ 6.
14       21.On October 8, 2018 (effective           PX 1, Freeman Decl., ¶ 80 and Att.
15          November 7, 2018), the State of         Q;
16          California Board of Pharmacy            PX 16, Att. P, 8/19/21 JN Dep. Tr.
17          entered into a Stipulated Settlement 42:24-43:12;
18          and Disciplinary Order with Dr. J       PX 16, Att. R2 (JN 30) at 3.
19          suspending her from practice as a
20          pharmacist for three (3) years, and
21          thereafter placing her on probation
22          for an additional five (5) years.
23       22.As part of the Stipulation, Dr. J       PX 1 ¶ 80, Att. Q.
24          admitted to the charges, which
25          included “Unprofessional Conduct
26          Involving Acts Involving
27          Dishonesty, Fraud, or Deceit,”
28
                                                5
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1           “Unlawful Holding and Offering
2           for Sale of Adulterated Dangerous
3           Drugs,” and “Excessive Furnishing
4           of Controlled Substances,” among
5           others.
6        23.Dr. J voluntarily suspended her         PX 16, Att. P, 8/19/21 JN Dep. Tr.
7           license in approximately November 41:2-16;
8           2019.                                   PX 16, Att. R2, JN 30.
9        24.Dr. J sells health and wellness         PX 1, Att. J (Your Order Updates for
10          products, including hand sanitizer,     Dr. J’s Natural Tr. 4:14-18); id., Att.
11          under the brand name “Dr. J’s           H (Covid Insight from a Doctor Tr.
12          Natural.”                               4:23-24);
13                                                  See also PX 2, Decl. of Adam Rottner
14                                                  (“Rottner Decl.”), Atts. N, O, P, Q, R.
15
16       25.In connection with the matters          PX 16, Att. D, Ans. to FAC ¶ 11;
17          alleged in the FAC, Dr. J transacts     PX 17, Stipulation ¶ 9.
18          or has transacted business in the
19          District and throughout the United
20          States.
21       26.Dr. J is an owner of QYK.               See PX 1 ¶ 27, Att. D;
22                                                  PX 16, Att. Q, 12/9/21 JN Dep. Tr.
23                                                  34:10-17
24       27.Dr. J has also represented herself as PX 16, Att. Q, Tr. 219:14-21.
25          a principal of the QYK.
26       28.Dr. J is CEO of Dr. J’s Natural.        PX 16, Att. D, Ans. to FAC ¶ 11;
27                                                  PX 17, Stipulation ¶ 7.
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1        29.Jacqueline Nguyen controls Dr. J’s    PX 16, Att. G, JN RFA Resp. No. 41;
2           Natural.                              PX 17, Stipulation ¶ 8.
3        30.Jacqueline Nguyen owns Dr. J’s        PX 16, Att. G, JN RFA Resp. No. 42;
4           Natural.                              PX 16, Att. O, 8/18/21 JN Dep. 32:7-
5                                                 10;
6                                                 PX 17, Stipulation ¶ 7.
7        31.Jacqueline Nguyen is an officer of    PX 16, Att. G, JN RFA Resp. No. 43;
8           Dr. J’s Natural.                      PX 16, Att. O, 8/18/21 JN Dep. 32:4-
9                                                 6;
10                                                PX 17, Stipulation ¶ 7
11       32.Dr. J and Mr. Tammabattula are        PX 16, Att. D, Ans. to FAC ¶ 11;
12          husband and wife and reside within PX 16, Att. O, 8/18/21 JN Dep.
13          the district.                         18:22-19:3; 19:14-16;
14                                                PX 17, Stipulation ¶¶ 5, 6, 9.
15       33.Theo Pharmaceuticals, Inc. is a       PX 16, Att. D, Ans to FAC ¶ 8;
16          California Corporation with its       PX 17, Stipulation ¶¶ 1, 15.
17          principal place of business at
18          10517 Garden Grove Blvd,
19          Anaheim, California.
20       34.Theo Pharmacy was founded by          PX 16, Att. D, Ans. to FAC ¶ 11;
21          Dr. J in 2014.                        PX 17, Stipulation ¶ 7;
22                                                PX 16, Att. O, 8/18/21 JN Dep. Tr.
23                                                44:22-46:17.
24       35.Corporate records for Theo            PX 16, Att. D, Ans. to FAC ¶ 14;
25          Pharmacy show Defendant               PX 16, Att. K, 8/16/21 RT Dep. Tr.
26          Tammabattula as the owner and         34:7-9.
27          controlling officer.
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1        36.Until on or around March 2020,           PX 16, Att. K, 68:4-18.
2            Theo Pharmacy was an online
3            pharmacy retailer.
4        37.EASII, Inc. (“EASII”) is a               PX 16, Att. D, Ans to FAC ¶ 9;
5            Delaware Corporation with its           PX 17, Stipulation ¶2.
6            principal place of business Santa
7            Ana, California.
8        38.Rakesh Tammabattula is the CEO           PX 16, Att. D, Ans. to FAC ¶ 10;
9            of EASII, Inc.                          PX 17, Stipulation ¶ 3.
10       39.At all times material to the FAC,        PX 16, Att. D, Ans. to FAC ¶ 12;
11           Defendants have maintained a            PX 17, Stipulation ¶ 10
12           substantial course of trade in or
13           affecting commerce, as
14           “commerce” is defined in Section 4
15           of the FTC Act, 15 U.S.C. s. 44.
16     II.   THE CORPORATE DEFENDANTS OPERATE AS A COMMON
17           ENTERPRISE
18       40.Defendants Tammabattula and Dr.          PX 16, Att. D, Ans. to FAC ¶ 13;
19           J operate QYK, DJN, Theo, and           PX 17, Stipulation ¶ 11.
20           EASII (“Corporate Defendants”) as
21           a common enterprise.
22       41.Defendants admit and do not              PX 16, Att. D, Ans. to FAC ¶¶ 6, 11,
23           dispute that Defendants                 13-14, 16-17;
24           Tammabattula and Dr. J have             PX 17, Stipulation ¶¶ 12-16.
25           conducted the business practices
26           alleged in the FAC through
27           interrelated companies that share
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1            common ownership, officers,
2            employees, and office locations.
3         42.Defendants agree, that because the      PX 16, Att. D, Ans. to FAC ¶ 19;
4            Corporate Defendants have               PX 17, Stipulation ¶ 17.
5            operated as a common enterprise,
6            each is liable for the acts and
7            practices alleged in the FAC.
8     III.   DEFENDANTS’ DECEPTIVE BUSINESS PRACTICES
9
10        43.In November 2019, Defendants            PX 16, Att. K, 8/16/21 RT Dep.;
11           began developing                        41:19-42:15; 104:25-105:8.
12           www.glowyy.com (“Glowyy
13           website”).
14        44.Defendants developed the Glowyy         PX 16, Att. K, 8/16/21 RT Dep. Tr.
15           website using the Shopify e-            153:3-154:1.
16           commerce platform.
17        45.Defendants explained that “Shopify PX 16, Att. K, 8/16/21 RT Dep. Tr.
18           is a ready-made e-commerce              153:14-154:1.
19           platform or easy-to-use e-
20           commerce platform, which allows
21           us to sell any products on line
22           pretty easily without much skills
23           with the actual coding or
24           involvement of the backing of the
25           website, where they have the -- the
26           -- the basic structure developed and
27           the core engine for the e-commerce
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1            exists. And all you do is just
2            change the layout of how we need
3            our store to look, add our products
4            to it, and we're pretty much ready
5            to sell. We could connect the -- the
6            payment -- payment or payment
7            providers through that, and there’s
8            nothing much we would have to
9            do.”
10        46.QYK used Shopify to manage               PX 16, Att. E, QYK RFA Resp. No.
11           shipping of hand sanitizer orders to 73; PX 16, Att. U, 9/23/21 DP Tr.
12           customers placed through                 75:12-16.
13           www.glowyy.com.
14        47.When a customer placed an order          PX 16, Att. E, QYK RFA Resp. Nos.
15           for hand sanitizer through the           74.
16           www.glowyy.com website,
17           Shopify generated and transmitted
18           a notification of the order to an
19           authorized representative,
20           employee, or contractor of the
21           Company.
22        48.An authorized representative,            PX 16, Att. E, QYK RFA Resp. No.
23           employee, or contractor of QYK           75.
24           would generate a pre-paid mailing
25           label through Shopify to ship hand
26           sanitizer to customers.
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1         49.Shopify maintains a database for        PX 16, Att. E, QYK RFA Resp. No.
2            the Company containing the              76.
3            following information for customer
4            orders:
5               a. Customer name
6               b. Customer address
7               c. Date the order was placed
8               d. The ordered merchandise,
9                  including SKU
10              e. The amount the customer
11                 paid for the ordered
12                 merchandise, including the
13                 postage costs, taxes, and
14                 price per item
15              f. The fulfilled at date
16              g. The mailing carrier, e.g.
17                 USPS or UPS, and method,
18                 e.g., overnight, or ground
19              h. The “paid at date.”
20        50.Shopify creates a “fulfilled at” date PX 16, Att. E, QYK RFA Resp. No.
21           for an order at the time QYK            77; PX 16, Att. U, 9/23/21 DP Dep.
22           generates a mailing label.              Tr. 100:9-22.
23        51.Defendants had initially started the    PX 16, Att. K, 8/16/21 RT Dep.
24           Glowyy website to sell beauty           121:7-9; 149:20-150: 4.
25           products online.
26
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1         52.At the beginning of the Pandemic,         PX 16, Att. K, 8/16/21 RT Dep. Tr.
2            however, Defendants changed their 149:20-150:10; PX 16, Att. D, Ans.
3            plans in order to capitalize on           to FAC ¶¶ 22-23.
4            consumers’ high demand for hand
5            sanitizer.
6         53.Beginning on or around March 4,           PX 16, Att. E, QYK RFA Resp. No.
7            2020, Defendants began offering           5, 7;
8            Dr. J’s Natural (and other branded)       PX 16, Att. K, 8/16 21 RT Dep. Tr.
9            hand sanitizer through the Glowyy         104:8-12 (hand sanitizer listed on
10           website.                                  Glowyy in early March).
11        54.Additionally, they sold other (in         PX 1 ¶¶ 16-20, Att. B;
12           their own words) “Pandemic                PX 16, Att. D, Ans. to FAC ¶ 21; see
13           Products” and “Current                    also PX 2, Att. N, Q (DJN COVID
14           Essentials”, including facemasks,         essentials).
15           shields, surface wipes,
16           disinfectants, and other Personal
17           Protective Equipment (“PPE”).
18        55.The Defendants marketed four              PX 16, Att. D, Ans. to FAC ¶ 21.
19           sizes of Dr. J’s Natural hand
20           sanitizer: a 3.3 oz bottle for $5.99;
21           a 4.0 oz bottle for $5.99; a 10 oz
22           bottle for 9.99; and a 16 oz bottle
23           for $12.99.
24        56.Defendants also sold 300ml/10 oz          PX 16, Att. AA at 10, 15 (discussing
25           bottles of Siruni brand hand              imports and showing images of hand
26           sanitizer through Glowyy that             sanitizer); PX 1, Att. Z at 1, 3, 8, 25
27           Defendants imported from China.           (showing purchases of Siruni 300 ml
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                                                  12
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1                                                    hand sanitizer); see also PX 2, Att.
2                                                    AB.
3         57.Defendants also sold Dr. J’s            PX 1, Att. E at 3 (early March DJN
4            Natural brand hand sanitizer and        posts for hand sanitizer); PX 2, Atts.
5            other PPE through the DJN               N-Q (July 2020 website captures);
6            website, drjsnatural.com.               AB, AD, AE (showing DJN
7                                                    Facebook and Twitter posts early
8                                                    March for hand sanitizer); PX 16, Att.
9                                                    O, 8/18/21 JN Dep. Tr. 69:5-15
10                                                   (started selling hand sanitizer in
11                                                   March).
12           A.    Defendants Aggressively Advertised Hand Sanitizer “In Stock &
13     Ships Today” With Little Inventory.
14        58.To kick off sales of hand sanitizer,    PX 16, Att. F (Relevant Portions of
15           Defendants began an aggressive          Defendant Tammabattula’s
16           online marketing campaign.              Responses to FTC’s RFAs [“RT RFA
17                                                   Resp.”] No. 3;
18                                                   PX 16, Att. L, 8/17/21 RT Dep. 24:
19                                                   19-21.
20        59.On or around March 4, 2020,             PX 16, Att. F, RT RFA Resp. Nos. 4-
21           Defendants began advertising hand       6, 8;
22           sanitizer “In Stock & Ships Today” PX 16, Att. E, QYK RFA Resp. Nos.
23           through Google (“March 4 Google         8-13 (admitting Google campaigns
24           AdWords campaign”).                     disseminated March 4-March 19,
25                                                   2020 and contained the language “In
26                                                   Stock & Ships Today”); 8/17/21 RT
27                                                   Dep. Tr. 24:19-21; 33:2-5 (RT chose
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                                                13
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1                                                 language “In Stock & Ships Today”);
2                                                 38:13-24 (stating that he started the
3                                                 Google campaign “the evening or
4                                                 March 3rd”); see also PX 16, Att. D,
5                                                 Ans. to FAC ¶ 23 (admitting
6                                                 disseminated ads that they had hand
7                                                 sanitizer “In Stock” and “Ships
8                                                 Today” in order to capitalize on
9                                                 consumer demand for hand sanitizer).
10        60.Defendant Tammabattula initiated     PX 16, Att. L, 8/17/21 RT Dep.
11           the March 4 Google AdWords           24:19-21;
12           campaign.                            See also PX 16, Att. E, QYK RFA
13                                                Resp. No. 18;
14                                                PX 16, Att. F, RT RFA Resp. No. 3.
15        61.Defendants began selling hand        PX 16, Att. E, QYK RFA Resp. No.
16           sanitizer through Glowyy on          No. 6 (admitting QYK had not sold
17           March 4, 2020.                       hand sanitizer prior to March 3,
18                                                2020); PX 16, Att. L, 8/17/21 RT
19                                                Dep. Tr. 58:3-19.
20        62.The March 4 Google AdWords           PX 16, Att. D, Ans. to FAC ¶ 25; PX
21           campaign displayed the following     16, Att. E, QYK RFA Resp. No. 14;
22           ad:                                  PX 16, Att. F, RT RFA Resp. No. 8.
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1         63.The ad displalying “In Stock &           PX 16, Att. L, 8/17/21 RT Dep. Tr.
2            Ships Today” appeared in response 49:20-25; PX 16, Att. N3, RT-QYK
3            to keyword searches for, inter alia,     22; PX 16, Att. D, Ans. to FAC ¶ 24.
4            “human coronavirus,” “buy hand
5            sanitizer” and “hand sanitizer in
6            stock.”
7
8
9         64. The ad displaying “In Stock &           PX 16, Att. D, Ans. to FAC ¶ 25.
10           Ships Today” appeared in response
11           to a Google search on or about
12           March 12, 2020.
13
14
15
16
17        65.Defendants admit “‘Ships Today’”         PX 16, Att. E, QYK RFA Resp. No.
18           can be reasonably interpreted to         22.
19           mean that the product can be
20           shipped the same day.
21        66.On March 4, 2020, Defendants             PX 16, Att. M, 12/7/21 RT Dep. Tr.
22           simultaneously started several           110:7-10 (Facebook); 111:1-11;
23           other online campaigns using tools       138:8-22 (Bing).
24           provided by Shopify to advertise
25           through Facebook and on Bing.
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1         67.The Facebook advertising                PX 16, Att. M, 12/7/21 RT Dep. Tr.
2           campaign included a retargeting          110:11-18.
3           campaign to show hand sanitizer
4           ads to customers who had
5           previously visited the Glowyy
6           website.
7         68.On March 6, 2020, Defendants also PX 16, Att. M, 12/7/21 RT Dep. Tr.
8           promoted the sale of hand sanitizer      64:10-23; 75:14-76:6;
9           through non-traditional sales            PX 1, Att. AA.
10          platforms such as Reddit via links
11          to direct traffic to hand sanitizer on
12          the Glowyy website.
13        69.Defendant Tammabattula posted           PX 16, Att. M, 12/7/21 RT Dep. Tr.
14          job listings on Upwork relating to       64:10-23; PX 1, Att. AA
15          Glowyy.com.
16
17        70.Defendant Tammabattula used             PX 16, Att. M, 12/7/21 RT Dep. Tr.
18          Upwork to find freelance workers.        48:16-24; PX1, Att. AA.
19
20
21        71.On March 5, 2020, Defendant             PX 16, Att. M, 12/7/21 RT Dept. Tr.
22          Tammabattula posted a job to hire        64:10-23; PX 16, Att. N5, RT-QYK
23          a freelancer on Upwork to post           48; PX 1, Att. AA.
24          links on Reddit.
25
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1         72.Defendant Tammabattula’s job            PX 1, Att. AA at 12.
2            posting read: “Looking for
3            someone with established Reddit
4            accounts to share links to a website
5            for Coronavirus Outbreak related
6            products. Open to other channels
7            as well. Need organic US traffic
8            that converts.”
9         73.On March 5, 2020, Tammabattula          PX 16, Att. M, 12/7/21 RT Dep.
10           hired a freelancer, who then posted     65:22-66:9; 66:23-67:21; 67:18-21;
11           two links on Reddit to direct traffic see also PX 16, Att. N5, RT-QYK
12           to the Glowyy website.                  Ex. 48 at 6.
13        74.One of the two links posted on          PX 16, Att. M, Tr. 71:3-15; PX 16,
14           Reddit falsely claimed that “he and     Att. N5, RT-QYK 48 at 6, 16-17.
15           his sister purchased hand sanitizer
16           through Glowyy.”
17        75.The Reddit post was removed at          PX 16, Att. M, 12/7/21 RT Dep.
18           some point, and Defendant               69:24-70:21.
19           Tammabattula understood it was
20           because commercial links are not
21           allowed on Reddit.
22        76.Around March 6, 2020, Defendants PX 16, Att. M, 12/7/21 RT Dep. Tr.
23           also promoted hand sanitizer            75:10-76: 6 (Twitter); PX 2, Att. AB
24           through Instagram and Twitter.          (Twitter); see PX 1, Att. E at 1-2
25                                                   (Instagram); see also PX 16, Att. M,
26                                                   12/7/21 RT Dep. Tr. 111:12-113:7
27                                                   (discussing photos of hand sanitizer
28
                                                17
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1                                                    appearing on Instagram feeds around
2                                                    March 5).
3
4
5         77.Defendants ran the March 4              PX 16, Att. L, 8/17/21 RT Dep.
6            Google AdWords’ campaign until          38:13-24; 54:1-18; see also PX 16,
7            at least March 18, 2020.                Att. E, QYK RFA Resp. No. 22
8                                                    (admitting that between March 4
9                                                    through March 10, 2020 the company
10                                                   stated that hand sanitizer was “In
11                                                   Stock and Ships Today.”).
12        78.Google metrics show that the “In        PX 16, Att. N2, RT-QYK 21 at 2-3.
13           Stock & Ships Today” ad was
14           viewed at least 395,865 times
15           (Impr.), and there were at least
16           15,469 clicks on the link when
17           served the ad with the extension
18           “In Stock & Ships Today.”
19        79.Consumers purchased thousands of PX 16, Att. F, RT RFA Resp. No. 22;
20           bottles of hand sanitizer within the    PX 9, Att. B at 39 (Consumer
21           first few days of Defendants’           Ordered showing 18,337 orders
22           marketing campaign.                     between March 4 and March 9 2020).
23        80.Defendants sold, and consumers          PX 9, Att. B at 39 (Consumer
24           purchased, at least 147,953 bottles     Ordered) (excluding bottles that lack
25           of hand sanitizer between March 4       ounce designation or line item name).
26           and March 18, while the Google
27           AdWords’ campaign was running.
28
                                                18
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1         81.Defendants sold, and consumers            PX 9, Att. B at 39 (Consumer
2            purchased at least 58,309 bottles         Ordered) (excluding bottles that lack
3            between March 4 and March 11,             ounce designation or line item name).
4            2020: 410, 2.7oz bottles; 8,701
5            3.3oz bottles; 6,415 8 oz bottles;
6            and 42,783, 10 oz bottles.
7         82.Between March 4 (the beginning of PX 16, Att. L, 8/17/21 RT Dep.69:9-
8            the campaign) and March 9 (when           13 (“inventory actually received”
9            Defendants received their first           [between March 4 and March 9]); PX
10           delivery of hand sanitizer),              9, Att. B; PX 10, Decl. of Molly
11           consumers paid Defendants for at          Smith (“Smith Decl.”), Att. A
12           least 18,337 bottles of hand              (inventory summary).
13           sanitizer that Defendants did not
14           have.
15        83.Even after March 9, Defendants            PX 10, Att. A. See also PX 9, Att. B
16           did not have enough hand sanitizer        at 50 (inventory analysis).
17           to fulfill those orders, having
18           received only 1,384 bottles.
19        84.Of the 1,384 bottles received on          PX 16, Att. T, 12/8/21 BT Dep. Tr.
20           March 9, 2020, 310 bottles arrived        50:12-21 (boxes came damaged); PX
21           damaged and unusable.                     16, Att. AH (Balaji WhatsApp FTC-
22                                                     QYK-0003254-55) (“Shipment
23                                                     arrived like this andi, all boxes torn
24                                                     and 310 pcs fell out, we got only 690
25                                                     pcs here”); PX 16, Att. S, 8/20/21
26                                                     39:18-24 (“andi” is a sign of respect,
27                                                     like sir or madam).
28
                                                  19
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1         85.During the entire period in which         PX 9, Att. B at 1-38 (outstanding
2            Defendants admit they                     shipments to order estimates); PX 9
3            disseminated the “In Stock & Ships ¶ 51 (showing negative inventory for
4            Today” claim, i.e., March 4-March         2.7 oz through mid-April).
5            18, Defendants continued to sell
6            hand sanitizer they did not have.
7         86.For instance, Defendants did not          PX 10, Att. A.
8            receive any 8 oz hand sanitizer
9            until at least March 19, 2020.
10
11        87.By March 19, however, consumers           PX 9, Att. B at 20 (8oz consumer
12           had paid for over 8,000 bottles of        ordered analysis vs inventory arrival).
13           Dr. J’s Natural Brand 8 oz hand
14           sanitizer beginning as early as
15           March 7, nearly two weeks before
16           Defendants had any in stock.
17        88.Defendants purchased 144, 80ml            PX 16, Att. AA at 36 (WeChat FTC-
18           bottles of kids’ hand sanitizer on        QYK-002976).
19           March 4, 2020.
20
21        89.Defendants sold kids’ hand                PX 9, Att. B at 1 (showing purchases
22           sanitizer beginning on March 4, but of 2.7 oz/80ml bottles beginning
23           none arrived until at least March         March 4, 2020); PX 10, Att. A
24           11.                                       (showing no 2.7 oz/80 ml bottles
25                                                     arriving until March 11).
26
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1         90.Even then, what arrived to                Compare PX 10, Att. A with PX 9,
2            Defendants on March 11 and                Att. B at 39 (consumer ordered); see
3            March 19 was far less than what           also PX 9, Att. B at 56 (inventory
4            consumers had already paid for.           estimation showing negative
5                                                      inventory, i.e., how many received
6                                                      versus sold, as of March 19, 2020, as
7                                                      follows 2.7 oz, -160 bottles; 3.3 oz,
8                                                      -19,522 bottles; 8 oz, -3487 bottles,
9                                                      10 oz bottles, -99,148 bottles).
10        91.Defendants had very little, if any,       PX 10, Att. A; see also PX 9, Att. B
11           hand sanitizer that they could ship       at 50 (inventory arrival); Att. B at 56
12           to customers until March 9, 2020.         (negative 280 bottles as of March 31
13                                                     for 2.7 oz; negative 31,640 bottles for
14                                                     3.3 oz; negative 111,364 bottles for
15                                                     10 oz).
16        92.Defendants claim they purchased           PX 16, Att. L, 8/17/21 RT Dep. Tr.
17           2000 bottles of hand sanitizer on or 39:21-40:6; PX 16, Att. S, 8/20/21
18           around February 5, 2020 for a trade BT Dep. Tr. 42:12-24; 43:9-11; PX
19           show in connection with efforts to        16, Att. K, 8/16/21 RT Dep. Tr.
20           promote the Dr. J’ s Natural brand        151:11-152:1 (discussing the white
21           at a white label expo in Las Vegas,       label event and explaining that hand
22           taking place February 26, 2020.           sanitizer was one of several products
23                                                     exhibited at the show).
24        93.Defendants claim they had an              PX 16, Att. E, QYK RFA Resp. No.
25           inventory of 2,000 units of hand          No. 46; PX 16, Att. F, RT RFA Resp.
26           sanitizer at the time it began the        No. 18; PX 16, Att. L, 8/17/21 RT
27           March 4 Google Ad campaign.               Dep. Tr. 38:25-39:23; 68:18-69:8.
28
                                                  21
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1         94.Records from FedEx show that          PX 13, Decl. of Melissa Gormly, Att.
2            Defendants placed an order on or      A at 1-3; PX 10 ¶ 13, and Att. A.
3            around February 15, 2020,
4            containing only six bottles of hand
5            sanitizer—three, 50ml bottles and
6            three, 100ml bottles, among a
7            variety of “Ayurvedic” beauty
8            products.
9         95.Defendants received the February      PX 13, Gormly Decl. , Att. C
10           15, 2020 order on February 21,        (Delivered to sheet); PX 10, Att. A
11           2020.                                 (Shipments Delivered).
12
13        96.QYK tracked hand sanitizer            PX 16, Att. E, QYK RFA Resp. No.
14           inventory by observing what stock     97; PX 16, Att. F, RT RFA Resp. 29.
15           it had in its warehouse.
16
17        97.QYK tracked hand sanitizer            PX 16, Att. E, QYK RFA Resp. No.
18           inventory using manual methods.       96; PX 16, Att. F, RT RFA Resp. No.
19                                                 28; PX 16, Att. L, 8/17/21 RT Dep.
20                                                 71:7-17.
21        98.QYK did not maintain records          PX 16, Att. E, QYK RFA Resp. No.
22           sufficient to track the shipping time 84; PX 16, Att. L, 8/17/21 RT Dep.
23           for any hand sanitizer order          74:24-75:1; 78:16-24.
24           between March 3, 2020 and August
25           4, 2020.
26
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1         99.QYK did not use Shopify to track          PX 16, Att. E, QYK RFA Resp. No.
2            hand sanitizer inventory between          93; PX 16, Att. L, 8/17/21 RT Dep.
3            March 3, 2020 and August 4, 2020. 69:24-71:6; 71:7-17.
4
5         100.      QYK does not use Shopify           PX 16, Att. E, QYK RFA Resp. No.
6            to track hand sanitizer inventory.        94; PX 16, Att. L, 8/17/21 RT Dep.
7                                                      69:24-71:6; 71:7-17.
8
9         101.      Between March 3, 2020 and          PX 16, Att. E, QYK RFA Resp. No.
10           August 4, 2020, all of QYK’s hand         95.
11           sanitizers inventory was located at
12           and shipped from 10517 Garden
13           Grove Blvd., Garden Grove, CA
14           92843.
15        102.      80 ml is approximately             Johnson Decl. ¶ 47.
16           equivalent to 2.7 ounces.
17
18
19        103.      Defendants purchased 80 ml         PX 16, Att. L, 8/17/21 RT Dep. Tr.
20           bottles of hand sanitizer from            92:21-93:4.
21           China, and sold them as kids’ hand
22           sanitizer.
23        104.      100 ml is approximately            PX 16, Att. L, 8/17/21 RT Dep.
24           equivalent to 3.3 ounces.                 92:18-20.
25
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     Case 8:20-cv-01431-PSG-KES Document 136 Filed 02/15/22 Page 25 of 112 Page ID
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1         105.     Intentionally Omitted           Intentionally Omitted.
2
3
4
5         106.     Defendants purchased 300ml PX 16, Att. S, 8/20/21 BT Dep.
6           sized bottles of hand sanitizer from   57:19-23; PX 16, Att. L, 8/17/21 RT
7           China and sold it as 10 ounce.         Dep. Tr. 92:14-17.
8
9         107.     500 ml is approximately         Johnson Decl. ¶ 47.
10          equivalent to 16 ounces.
11
12
13        108.     Defendants received no other PX 10, Att. A.

14          shipments of hand sanitizer again

15          until March 9, 2020.

16
          109.     Defendants’                     PX 16, Att. AA at 17-22.
17
            communications show they ordered
18
            some hand sanitizer on March 4,
19
            2020, that was not scheduled to
20
            arrive for at least three days.
21
22        110.     According to Defendants’        PX 16, Att. AA at 27 (WeChat

23          WeChat conversations, they had         Transcript FTC-QYK0002967).

24          only ordered 2016 bottles of

25          300ml; 1000 bottles of 100ml; and

26          144 bottles of 80ml hand sanitizer

27          from China as of March 5, 2020.

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1         111.      On March 9, Defendants           PX 10, Att. A; see also PX 9, Att. B
2           received 1,000 bottles of 3.3 oz         at 50 (inventory arrival); PX 16, Att.
3           hand sanitizer, however 310 of           AH at 2 (310 bottles unusable).
4           these were unusable. Defendants
5           also received 384 bottles of 10 oz
6           hand sanitizer on March 9, 2020.
7         112.      The March 9, 2020 delivery       PX 10, Att. A; PX 16, Att. K, 8/16/21
8           was the only hand sanitizer              RT Dep. Tr. 152:9-24.
9           Defendants received from Syndy
10          Pharma.
11        113.      Between March 4 and March PX 9, Att. B at 39 (Consumer
12          9, Defendants sold 18,337 bottles        Ordered).
13          of hand sanitizer.
14
15        114.      Defendants admit they did        PX 16, Att. L, 8/17/21 RT Dep. Tr.
16          not receive any hand sanitizer           68:18-69:13.
17          between March 4 and March 9,
18          2020.
19        115.      Defendants did not ship a        PX 9, Att. B at 44 (customer
20          single bottle of hand sanitizer          shipments showing 0 shipments
21          before March 10, 2020.                   before March 10, 2020); PX 9 ¶ 50
22                                                   (the March 7, 2020 “shipment” of
23                                                   hand sanitizer is based on a
24                                                   fulfilled_at date, not a
25                                                   FirstScanTimeStamp, i.e., Defendants
26                                                   merely printed a label on March 7).
27
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1         116.       Defendants received no           PX 10, Att. A; see also PX 9 Att. B at
2           significant inventory of additional       50 (inventory arrival) (showing total
3           shipments of hand sanitizer until         inventory of 8,176 for all hand
4           March 16, 2020.                           sanitizer received between March 4
5                                                     and March 15).
6         117.       Between March 4 and March PX 9, Att. B at 39 (consumer
7           15, 2020, Defendants sold at least        ordered) (excludes unclassified 0 oz
8           118,208 total bottles of hand             bottles)
9           sanitizer.
10        118.       Defendants did not receive       PX 10 ¶ 13, Att. A.
11          any 8 oz hand sanitizer until at
12          least March 19, 2020.
13
14        119.       Between March 4 and March PX 9, Att. B at 39 (Consumer
15          19, 2020, Defendants sold, and            Ordered).
16          consumers purchased, 9,343 bottles
17          of 8 oz hand sanitizer.
18        120.       Defendants represented on        PX 16, Att. E, QYK RFA Resp. No.
19          the website www.glowyy.com that           69; PX 16, Att. F, RT RFA Resp. No.
20          hand sanitizer is “AVAILABLE to           23; PX 16, Att. K, 8/16/21 RT
21          order UNLESS marked as ‘Sold              Dep.108: 6-22; PX 1, Att. B at 5.
22          Out.’”
23        121.       QYK did not always mark          PX 16, Att. E, QYK RFA Resp. No.
24          hand sanitizer as “Sold Out” even         70.
25          when there was no inventory at its
26          fulfillment warehouse.
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1         122.       Defendants had little           PX 10, Att. A; PX 9, Att. B at 50.
2           inventory of hand sanitizer for
3           much of March.
4
5         123.       Defendants admit                PX 16, Att. E, QYK RFA Resp. No.
6           disseminating advertisements via a       8-10, 13, 14-16; PX 16, Att. L,
7           Google Ad campaign from March            8/17/21 RT Dep. Tr. 31:20-36:24; PX
8           4 to 19, 2020, which expressly           16, Att. N2, RT-QYK 21; PX 16, Att.
9           stated that hand sanitizer was in        H, QYK ROG Resp. No. 18 (“The
10          stock.                                   Google ad stating ‘Ships Today’ only
11                                                   remained up from March 3, 2021
12                                                   [sic] to March 19, 2021 [sic]
13                                                   according to documents being
14                                                   produced along with this
15                                                   interrogatory.”).
16        124.       Defendants knew as early as     PX 16, Att. L, 8/17/21 RT Dep.133:9-
17          March 4 they lacked sufficient           14;
18          inventory to fill orders.                See PX 16, Att. S, 8/20/21 BT Dep.
19                                                   Tr. 49: 8-10 (admitting he understood
20                                                   by March 4, 2020 that there were
21                                                   orders that need to be fulfilled).
22        125.       Defendants knew on or           PX 16, Att. AA at 6 (3/3 chat:
23          around March 4, 2020 that                “shipping cost is high for this kind of
24          obtaining additional hand sanitizer      item. It’s heavy and belong to
25          would be difficult.                      sensitive item.”); 13 (3/3 chat: “One
26                                                   week for sensitive items.”); 52 (3/8
27                                                   chat: “Most agents can not handle this
28
                                                27
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1                                                sensitive item.”); 4 (3/3 chat: “Many
2                                                don’t have stock or price is high.”);
3                                                25 (3/5 chat: “Shipping prices is
4                                                changing fast. Because many flights
5                                                cancelled.”); 44 (3/6 chat: “So many
6                                                flights cancelled, even DHL leading
7                                                time will be longer next week. Like 5
8                                                to 7 days. Too many goods waiting in
9                                                line, no flight to go.”).
10        126.     In early March 2020, India    PX 16, Att. H at 1, 5, 18, 31, QYK
11          banned the export of hand            ROG Amended Resp. No. 1 (“Some
12          sanitizer.                           of these shipments were withheld due
13                                               to new, temporarily implemented
14                                               emergency regulations preventing
15                                               shipments from India.”); PX 16, Att.
16                                               L, 8/17/21 RT Dep. Tr. 114:2-10;
17                                               114:19-115:1 (indicating ban around
18                                               March 12 and knowledge at that
19                                               point) PX 16, Att. S, 8/20/21 BT Dep.
20                                               Tr. 44:14-45:6 (stating that some
21                                               packages were withheld from the Feb.
22                                               26th shipment of hand sanitizer from
23                                               India, which never made it to the
24                                               US); id. 78:25-79:14.
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1         127.      Defendants were unable to       PX 16, Att. S, 8/20/21 BT Tr. 61:2-
2           receive hand sanitizer from Syndy       62:4; 78:25-79:14.
3           Pharma and Ayur, both in India.         See also PX 16, Att. L, 8/17/21 RT
4                                                   Dep. Tr. 116:12-117:1.
5         128.      Defendants sought to obtain     PX 16, Att. S, 8/20/21 BT Dep. Tr.
6           additional hand sanitizer from          63:14-18; 65:13-19; see generally PX
7           other sources, including China.         16, Att. AA (RT chat history in early
8                                                   March showing efforts to get hand
9                                                   sanitizer from China).
10        129.      Defendants ordered 1008,        PX 16, Att. AA at 17 (WeChat FTC-
11          300 ml bottles and 1000, 100 ml         QYK-0002957)
12          bottles from China on March 4,
13          2020.
14        130.      The orders from China were      PX 10, Att. A.
15          not shipped until March 7-8, 2020
16          and arrived on March 9 and March
17          10, 2020.
18        131.      Shipments of hand sanitizer     PX 16, Att. L, 8/17/21 RT Dep. Tr.
19          and PPE from overseas were often        114:2-10; 114:19-115-1;
20          delayed or detained in customs.         See also PX 16, Att. L, 8/17/21 RT
21                                                  Dep. Tr. 116:12-117:1; PX 10, Att. A
22                                                  (Shipments detained); PX 16, Att. AB
23                                                  (FDA Detention).
24        132.      Many detained shipments         PX 16, Att. L, 8/17/21 RT Dep. Tr.
25          were not released at all.               114:2-10; 114:19-115-1.
26                                                  See also PX 16, Att. L, 8/17/21 RT
27                                                  Dep. Tr. 116:12-117:1; PX 10, Att. A
28
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1                                                     (Shipments detained); PX 16, Att. AB
2                                                     (FDA Detention).
3
4
5         133.      Defendants tried to find          PX 16, Att. S, 8/20/21 BT Dep. Tr.
6           domestic contract manufacturers as 79:16-24; 83:4-12.
7           well.
8
9         134.      Defendants had difficulty         PX 16, Att. D, Ans. to FAC ¶ 46; PX
10          sourcing bottles, pumps, and raw          16, Att. G, JN RFA Resp. No. 68; PX
11          ingredients.                              1 ¶¶ 46-48 and Att.s L, M, N, AD.
12
13        135.      Defendants had three              PX 16, Att. S, 8/20/21 BT Dep. Tr.

14          domestic suppliers of hand                51:17-52:1; 83:7-12; PX 16, Att. L,

15          sanitizer: Sainnocare                     8/17/21 RT Dep. Tr. 122:8-124:15.

16          Pharmaceuticals, Inc., IRIS Labs;

17          and Medison Pharma.

18        136.      Defendants found                  PX 16, Att. K, 8/16/21 RT Dep. Tr.
19          Sainnocare through Sydny Pharma, 167:13-168:1; PX 16, Att. S, 8/20/21
20          after hand sanitizer exports from         BT Tr. 48:7-21; 51:17-52:1.
21          India were (delayed) banned.
22        137.      IRIS produced hand sanitizer PX 16, Att. S, 8/20/21 BT Dep. Tr.
23          in 275-gallon totes, which                85:18-20.
24          Defendants used to fill bottles at
25          their Garden Grove warehouse.
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1         138.    Defendants found Medison          PX 16, Att. L, 8/17/21 RT Dep. Tr.
2           through an intermediary, VFR            122:19-123:10; PX 16, Att. S,
3           Imports.                                8/20/20 BT Dep. Tr. 89:1-11; PX 16,
4                                                   Att. N4, RT-QYK 40.
5         139.    Demaris Reyes works for           PX 16, Att. L, 8/17/21 RT Dep. Tr.
6           VFR Imports.                            122:11-123:10; 123:24-124:1; PX 16,
7                                                   Att. N4, RT-QYK 40.
8
9         140.    Defendants received no hand PX 10, Attach. A.
10          sanitizer from domestic contract
11          manufacturers until at least March
12          30, 2020.
13        141.    The hand sanitizer                PX 10, Att. A; see also PX 16, Att. S,
14          Defendants received from the            8/20/21 BT Tr. 75:2-14.
15          domestic manufacturers was vastly
16          less than what they had anticipated.
17        142.    Defendants claim they were        PX 16, Att. S, 8/20/21 BT Tr. 74:14-
18          supposed to receive a million           75:14.
19          bottles from Sainnocare, but
20          received less than 10,000.
21        143.    Defendants claim they             PX 10, Att. A.
22          received approximately 100,000
23          bottles from Medison, but their
24          records show less than 20,000
25          bottles received.
26
27
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                                               31
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1         144.      Defendants did not pay IRIS      PX 1 ¶ 97 and Att. AC at 3.
2           Labs for hand sanitizer until April
3           2020.
4
5         145.      Defendants’ records show         PX 10 ¶ 12.
6           five invoices for 275-gallon totes
7           of hand sanitizer from IRIS Labs in
8           April 2020.
9         146.      One of these invoices was to     See PX 1, Att. AC at 3 (note: Alcohol
10          fulfill a government contract and        6050 GAL shipped to FL); PX 16,
11          was shipped directly to Opa Locka, Att. AI.
12          FL.
13        147.      The bulk hand sanitizer          PX 16, Att. S, 8/20/20 BT Dep. Tr.
14          supplied by IRIS Labs had a strong 94:13-23.
15          alcohol smell and could not be
16          used without an additional step of
17          adding perfume to “neutralize the
18          smell.”
19        148.      Defendants never                 PX 16, Att. L, 8/17/21 RT Dep. Tr.
20          manufactured their own hand              125:24-126:4.
21          sanitizer on-site.
22
23        149.      Defendants failed to have        PX 9, Att. B at 56 (actual inventory
24          sufficient inventory to fulfill orders as of April 15, 2020 was negative 328
25          through at least mid-April.              bottles (2oz); negative 41,458
26                                                   (3.3oz); and negative 110,995
27
28
                                                32
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1                                                       (10oz)); see also PX 9 ¶ 51 (chart
2                                                       showing negative inventory);
3                                                       PX 16, Att. S, 8/20/21 BT Dep. Tr.
4                                                       111:2-10 (April 15, 2020 had
5                                                       “enough inventory.”).
6           B.      Defendants Continued to Claim Fast Shipping Throughout the
7      Pandemic Despite Not Being Able to Timely Fulfill Orders.
8
9         150.      Defendants admit they did           PX 16, Att. E, QYK RFA Resp. Nos.
10          not ship hand sanitizer orders              36-43; 45 (admitting no order placed
11          between March 4 and March 11,               by a customer between March 3-10
12          2020.                                       went out the same day); 49 (admitting
13                                                      no orders for hand sanitizer shipped
14                                                      March 6-10, 2020); see also PX 16,
15                                                      Att. E, QYK RFA Resp. No.59
16                                                      (admitting that no order placed on
17                                                      March 11 was even shipped within
18                                                      five days of when the order was
19                                                      placed); PX 9 ¶ 50 (earliest
20                                                      FirstScanTimeStamp date, i.e.,
21                                                      shipment date, is March 11, 2020).
22        151.      Defendants did not print any        PX 9 ¶ 50.
23          shipping labels, i.e., “fulfill” any
24          orders until at least March 7, 2020.
25
26
27
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     Case 8:20-cv-01431-PSG-KES Document 136 Filed 02/15/22 Page 35 of 112 Page ID
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1         152.       Defendants admit that            PX 16, Att. D, Ans. to FAC ¶35; PX
2           shipments [of hand sanitizer] went        16, Att. U, 9/23/21 DP Dep. Tr.
3           out late.                                 168:4-14; 168:23-169:11
4
5         153.       “Fulfilled_at” in Shopify        PX 16, Att. E, QYK RFA Resp.
6           means the date that Defendants            No.77-78; PX 16, Att. U, 9/23/21 DP
7           purchased and printed a shipping          Dep. Tr. 100:2-22.
8           label.
9         154.       When a label was generated,      PX 16, Att. U, 9/23/21 DP Dep. Tr.
10          Shopify automatically marked the          100: 9-13.
11          order as fulfilled.
12
13        155.       After a label was printed and PX 16, Att. U, 9/23/21 DP Dep. Tr.
14          was in the warehouse, a package           97:17-21.
15          was in pre-shipment.
16
17        156.       In communications to             PX 1, Att. Z, at 7, 11, 15, 24, 27, 30,
18          customers, Defendants blamed              39, 42, 46, 61, 67, 71, 75, 78, 84
19          delays on the uncertain supply
20          chain.
21        157.       In communications to             PX 1, Att. Z, at 15, 36, 46, 49, 61
22          customers, Defendants blamed
23          delays on insufficient staff.
24
25        158.       In communications to             PX 1, Att. Z at 92

26          customers, Defendants blamed

27          delays on prioritizing sales to

28          hospitals and charities.
                                                 34
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1         159.    In communications to                PX 1, Att. Z at5, 24, 33, 36, 46
2           customers, Defendants blamed
3           delays on the sheer volume of
4           orders.
5         160.    At times, QYK was waiting           PX 16, Att. U, 9/23/21 DP Dep. Tr.
6           for shipments of bottles with hand        167: 18-21; PX 1, Att. Z at 7, 11, 15,
7           sanitizer in them in order to ship        24, 27, 30, 39, 42, 46, 61, 67, 71, 75,
8           out shipments to customers.               78, 84, 87, 98,
9         161.    Defendants ordered bottles          PX 16, Att. L, 8/17/21 RT 126:16-25;
10          of hand sanitizer without labels (or      127:22-128:5.
11          with foreign labels that needed
12          relabeling).
13        162.    Defendants did not have a           PX 16, Att. T, 12/8/21 BT Dep. Tr.
14          labeling machine when the first           131:21-133:2; see also PX 16, Att. L,
15          unlabeled bottles arrived, and they       8/17/21 RT Dep. Tr. 124:22-125:12;
16          labeled bottles by hand.                  8/17/21 RT Dep. Tr. 127:22-128:5.
17        163.    Defendants had never                PX 16, Att. L, 8/17/21 RT Dep. Tr.
18          worked with their domestic                128: 12-24; PX 16, Att. K,8/16/21 RT
19          suppliers prior to March 2020.            Dep. Tr. 167:13-168:1; PX 16, Att. S,
20                                                    8/20/21 BT Tr. 48:7-21
21        164.    Defendants’ domestic                See e.g., PX 16, Att. S, 8/20/20 BT
22          suppliers were untested vendors           Dep. Tr. 94:13-23; 74:14-75:14.
23          that ultimately proved unreliable.
24
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1         165.    Dr. J did not develop the        PX 16, Att. L, 8/17/21 RT Dep. Tr.
2           hand sanitizer formula.                127:1-21; PX 16, Att. P, 8/19/21 JN
3                                                  Dep. Tr. 59:23-24;
4
5         166.    A facility needed to be          PX 16, Att. M, 12/7/21 RT Dep. Tr.
6           registered with the FDA to produce 81: 22-25.
7           or package hand sanitizer.
8
9         167.    Prior to March 13, 2020,         PX 16, Att. M, 12/7/21 RT Dep. Tr.
10          QYK was not filling individual         83:5-8.
11          bottles of hand sanitizer onsite for
12          sale to retail customers.
13        168.    Defendants repeatedly            PX 16, Att. H at 25-25, QYK ROG
14          modified the “processing times” on Resp. No. 17 (discussing various
15          the Glowyy website.                    processing time claims on website);
16                                                 PX 16, Att. E, QYK RFA Resp. Nos.
17                                                 58, 110, 111, 112, 113, 114; See also
18                                                 PX 1, ¶¶ 17, 19-20, 57 (describing
19                                                 website captures), Att. B, at 5, 7, 9,
20                                                 11 (containing “processing time”
21                                                 language, e.g., “Due to the
22                                                 overwhelming demand because of the
23                                                 outbreak we are experiencing long
24                                                 processing times. Please expect 5-7
25                                                 days for the order to be processed.
26                                                 Customers selecting overnight
27                                                 shipping, please beware that we can
28
                                              36
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1                                                     ship overnight only when your order
2                                                     is ready to be processed, but the same
3                                                     day order is placed.”).
4
5         169.    Danielle Paulo conveyed the         PX 16, Att. U, 9/23/21 DP. Dep. Tr.
6           processing times to customers and         184:20-25; PX 16, Att. M, 12/7/21
7           the customer service team.                RT Dep. Tr. 215: 9-15.
8
9         170.    Defendant Tammabattula              PX 16, Att. K, 8/16/21 RT Dep. Tr.
10          provided the processing time.             105:20-22; 107:10-108:5; PX 16, Att.
11                                                    U, 9/23/21 DP Tr. 184:20-22; PX 16,
12                                                    Att. M, 12/7/21 RT Dep. Tr. 215: 9-
13                                                    15.
14        171.    Defendants admit they               PX 16, Att. E, QYK RFA Resp. No.
15          claimed hand sanitizer Ships 3 to 5       58.
16          days from 3/11/20 to 3/18/20.
17
18        172.    Defendants claimed hand             PX 16, Att. E, QYK RFA Resp.
19          sanitizer Ships within 7 to 10 days       No.110.
20          from 3/19/20 to 3/30/20.
21
22        173.    Defendants claimed hand             PX 16, Att. E, QYK RFA Resp.

23          sanitizer ships within 3 to 5 days        No.111.

24          on 4/1/20.

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1         174.     Defendants claimed hand          PX 16, Att. E, QYK RFA Resp.
2           sanitizer Ships within 5 to 7 days      No.112; see also PX 16, Att. E, QYK
3           on 4/13/20;                             RFA Resp. No. 17.; PX 16, Att. K,
4                                                   8/16/21 RT Dep. Tr. 107:10-108:5;
5                                                   and PX 1, Att. B at 5
6         175.     Defendants claimed hand          PX 16, Att. E, QYK RFA Resp.
7           sanitizer Ships within 3 days on        No.113; PX 1, Att. B at 7.
8           4/19/20.
9
10        176.     Defendants claimed hand          PX 16, Att. E, QYK RFA Resp.
11          sanitizer Ships within 3 to 5 days      No.114.
12          from 5/1/20 to 5/7/20.
13
14        177.     Defendants claimed hand          PX 16, Att. E, QYK RFA Resp. No.
15          sanitizer Ships within 3 to 7 days      115; PX 1, Att. B at 11.
16          on 5/15/20.
17
18        178.     Defendants admit that they       PX 16, Att. E, QYK RFA Resp.
19          never told consumers it would take      No.116
20          more than 10 days to ship hand
21          sanitizer.
22        179.     The shipping time for more       PX 16, Att. E, QYK RFA Resp.
23          than 30,000 hand sanitizer orders       No.117; see PX 9, Att. A (Request 14
24          placed during the period from           showing 31,567 orders that exceed 10
25          March 3, 2020 through May 31,           days to ship between March 4 and
26          2020 exceeded 10 days.                  December 29, 2020; and Request 13,
27                                                  showing only 14 orders that exceeded
28
                                               38
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1                                                  10 days between May 16 and
2                                                  December 29, 2020).
3
4
5         180.    Defendants’ answer to the        PX 16, Att. D, Ans to FAC ¶ 77-78
6           FAC admits that they claimed one       (“Admit only to allegations contained
7           day or seven days to ship, and         in paragraph 78 as to ‘failed to ship
8           admit they did not ship within one     goods the same day they were
9           day or seven days.                     purchased, or failed to ship goods
10                                                 within seven (7) days.”’).
11        181.    The Requests for                 PX 16 ¶ 38.
12          Admissions defined Ship to mean
13          the day or date You [QYK Brands]
14          physically placed items in the
15          possession of a mail carrier.
16        182.    Defendants did not maintain      See PX 16 ¶ 51 (Defendants produced
17          records of the processing times        one processing time claim captured
18          placed on their website.               from the “Wayback Machine”); see
19                                                 also PX 16, Att. K, 8/16/21 RT Dep.
20                                                 Tr. 106:8-107:5.
21        183.    Defendants’ processing time      PX 16, Att. E, QYK RFA Resp. No.
22          claims still conveyed fast shipment. 113 (three); PX 16, Att. E, QYK RFA
23                                                 Resp. No.114 (three to five); PX 16,
24                                                 Att. E, QYK RFA Resp. No.115
25                                                 (three to seven).
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1         184.    Defendants never paused or           PX 16, Att. M, 8/17/21 RT Dep. Tr.
2           stopped the March 3 Google ad              59:19-20.
3           campaign.
4
5         185.    On May 18, 2020,                     PX 2 ¶ 10.a., Att. AF at 1.
6           Defendants disseminated the claim
7           that “ALL ORDERS SHIP
8           WITHIN 1-2 DAYS!!!!”
9         186.    On June 8, 2020, Defendants PX 2 ¶ 14.a., Att. A.
10          disseminated the claim that “ALL
11          ORDERS SHIP WITHIN 1-2
12          DAYS!!!!”;
13        187.    Defendants concede that              PX 16, Att. H at 34, QYK ROG Resp.
14          these “processing times” were              No. 10 (defendants attempted to give
15          intended to convey the amount of           accurate shipment times based on the
16          time it took to print the label and        amount of time it took to prepare
17          prepare the package for shipment,          package for shipment).
18          i.e., the time to place an order into
19          the hands of a mail carrier.
20        188.    Google was the principal             See PX 16, Att. AJ at 9 (Shopify
21          driver of customers to the Glowyy          “Sales by Traffic Referrer” showing
22          website.                                   Google search as the second highest
23                                                     generator of orders).
24        189.    Google suspended the                 PX 16, Att. L, 8/17/21 RT Dep. Tr.
25          Google AdWords account                     43:10-44:1; 54:1-10; PX 16, Att.
26          associated with rt@qyk.us on or            N15, RT-QYK 62 (disapproving ads
27          around March 18, 2020 for                  for violating “sensitive events”
28
                                                  40
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1           violating Google’s advertising          policy); PX 1, Att. X at 2 (Google
2           policies.                               sensitive events policy prevents “Ads
3                                                   that potentially profit from or exploit
4                                                   a sensitive event with significant
5                                                   social, cultural, or political impact”).
6         190.      Defendants used                 PX 16, Att. L, 8/17/21 RT Dep. Tr.
7           rt@easii.com to set up a new            94:19-96:10.
8           Google AdWords’ account.
9
10        191.      Defendants advertised           PX 16, Att. M, 12/7/21 RT Dep. Tr.
11          “Ships Fast from CA Today” from         153:18-154:1 (“Q. It says: ‘Hand
12          the Google account associated with sanitizer gel in stock. 75 percent
13          rt@easii.com on or around April 1,      alcohol-based formula. Ships fast
14          2020.                                   from California today.’ A. Yes. Q.
15                                                  So you agree that this is an ad that
16                                                  you ran through the rt@easii.com
17                                                  Google account for Glowyy hand
18                                                  sanitizer? Or for hand sanitizer that
19                                                  you’re selling through Glowyy?” A.
20                                                  Yes.”); 156:4-10 (ad started April 1,
21                                                  2020).
22        192.      Defendants continued the        PX 16, Att. M, 12/7/21 RT Dep. Tr.
23          “Ships Fast from CA Today”              159:25-160:3; 164:1-9.
24          Google AdWords campaign until
25          approximately mid-May.
26
27
28
                                               41
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1         193.    On or around May 18, 2020,       PX 16, Att. M, 12/7/21 RT Dep. Tr.
2           Google suspended the Google            159:25-160:3; 164:1-9; see also PX
3           AdWords’ account associated with       16, Att. N16, RT-QYK 65 (email
4           rt@easii.com.                          from Google suspending merchant
5                                                  account dated May 18).
6         194.    Google suspended the             PX 16, Att. N16, RT-QYK 65 (ads
7           Defendants’ Google AdWords             disapproved for sensitive events and
8           account associated with                Unacceptable Business Practice
9           rt@easii.com for violating             Policy); PX 1, Att. X at 2 (describing
10          Google’s advertising policies.         sensitive events ad policy); PX 16,
11                                                 N14 at 1, RT-QYK 61 (rt@easii.com
12                                                 account “violated the Unacceptable
13                                                 Business Practices Policy”); see PX
14                                                 1, Att. X at 1 (Google unacceptable
15                                                 business practices policy prohibits
16                                                 ads “Scamming users by concealing
17                                                 or misstating information about the
18                                                 advertiser’s business, product, or
19                                                 service.”).
20        195.    Google metrics show that the PX 16, Att. N14 at 4, RT-QYK 61.
21          “Ships Fast From CA Today” ad
22          was viewed 105,236,963 times, and
23          199,538 clicks on the link when
24          served the ad.
25
26
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                                              42
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1         196.    “Impressions” in Google         PX 16, Att. L, RT Dep. Tr. 30:19-
2           means the number of times the ad      31:9.
3           would have appeared in response to
4           a Google search.
5         197.    Defendants did not ship hand PX 16, Att. E, QYK RFA Resp. Nos.
6           sanitizer “Today” between March       36-43; 45 (admitting no order placed
7           4-March 18, 2020.                     by a customer between March 3-10
8                                                 went out the same day); 49 (admitting
9                                                 no orders for hand sanitizer shipped
10                                                March 6-10, 2020); see also QYK
11                                                First RFA No. 59 (admitting that no
12                                                order placed on March 11 was
13                                                shipped within five days of when the
14                                                order was placed); see also PX 9, Att.
15                                                A (Violation Summary Request No.
16                                                21 showing 0 shipments out of
17                                                20,523 total orders).
18        198.    Defendants did not ship hand PX 9, Att. A (Violation Summary,
19          sanitizer “Today” between April 1,    Request 23 showing 12,976 total
20          2020 and May 18, 2020 for 12,453      orders, 517 shipments made for
21          shipments out of a total of 12,976    orders purchased within parameters,
22          orders placed and paid for.           i.e., on time; 12,453 orders complete
23                                                violations).
24        199.    Over 93% of all orders          See PX 9 ¶ 27, Table 3.
25          placed in March and April were
26          shipped to customers after the
27          advertised shipment time.
28
                                             43
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1         200.      There were 20,084 orders          See PX 9, ¶ 27, Table 3.
2           placed in March and 12,916 orders
3           placed in April for a total of 42,000
4           orders placed in March and April
5           2020.
6         201.      There were only 1,244             PX 9 ¶ 27, Table 3.
7           orders for hand sanitizer placed in
8           May 2020. Of these, more than
9           40% were shipped after the
10          claimed shipping times.
11        202.      In May 2020, Defendants           PX 9 ¶ 34 (3,754 orders with a
12          were still shipping hand sanitizer        “paid_at” date between March 1 and
13          and PPE orders placed in March            April 15, 2020 and
14          and early April.                          FirstScanTimestamp between May 1-
15                                                    31); see also PX 1, Att. Z, at 101-105
16                                                    (Order 17014, ordered March 14,
17                                                    2020, shipped May 29, 2020); 106-
18                                                    110 (Order 19630, ordered March 15,
19                                                    2020, shipped May 31, 2020).
20
21               C. Defendants Further Deceived Consumers with False Revised
22                  Shipping Dates and Wrongfully Refused to Give Customers
23                  Refunds.
24
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1         203.     Defendants’ fulfillment              PX 16, Att. L, RT Dep. Tr. 79:22-
2           process began after “orders would           80:25 (describing the fulfillment
3           be received through the Shopify             process).
4           system.”
5         204.     Defendants charged                   See, e.g., PX 3 ¶ 3, PX 4 ¶ 4, PX 5 ¶
6           consumers’ credit cards or PayPal           4, PX 6 ¶ 5; PX 1, Att. Z at 42 (“I had
7           accounts immediately after                  placed an order #18053 on March 14th
8           consumers placed their orders.              and paid for it then with PayPal.”);
9                                                       see also PX 16, Att. K, 8/16/21 RT
10                                                      Dep. Tr. 174:11-175:1.
11        205.     Defendants then purchased a PX 16, Att. E, QYK RFA Resp. No.
12          shipping label through Shopify.             No. 78; Att. H, QYK ROG Resp. No.
13                                                      16 (describing the fulfillment
14                                                      process).
15        206.     Purchasing a shipping label          PX 16, Att. U, 9/23/21 DP Dep. Tr.
16          generated an email sent to                  97:22-98:1-6 (once a label was
17          consumers telling them that the             printed on Shopify, it will
18          items was “on its way.”                     automatically tell them their order has
19                                                      been shipped); see also PX 1, Att. Z
20                                                      at 81; PX 3 ¶ 4; PX 4 ¶ 5; PX 5 ¶ 5;
21                                                      PX 6 ¶ 6.
22        207.     QYK did not always ship              PX 16, Att. E, QYK RFA Resp. No.
23          ordered merchandise on the                  79.
24          “fulfilled at” date, or the date the
25          mailing label was created.
26
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1         208.    Consumers understood this       PX 1 ¶ 61 (“They will generate a UPS
2           communication to mean that the        label to make you think the order is in
3           order had been shipped.               the mail but the reality is there is no
4                                                 package); id. (“supposedly shipped
5                                                 10 days ago from California”); ¶ 71
6                                                 (“I received and [sic] email on April
7                                                 5, 2020 saying my order was on the
8                                                 way, with a USPS tracking. It said
9                                                 nothing about out of stock items or
10                                                items on back order. I waited 5 days
11                                                then checked to see the tracking
12                                                progress and it showed it hadn’t left
13                                                the facility yet.”); PX 1, Att. Z. at 7
14                                                (“please be up front and explain to me
15                                                is why I’ve been told my Order is
16                                                ready for pickup by UPS (supposedly
17                                                has a label created for it on 3/10) but
18                                                it has not been picked up by UPS.”);
19                                                id. at 11 (“Please don’t lie and send
20                                                me an email to says my order is on its
21                                                way if you know it’s not.”); id. at 30
22                                                (“In received notice that the order
23                                                referenced above had been shipped on
24                                                Mar. 26. When checking the tracking
25                                                number at USPS it says shipping
26                                                label created, item on its way to
27                                                USPS. Can you give me a status
28
                                             46
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1                                                   update? Has this order been lost
2                                                   somehow?”)
3
4
5         209.    Defendants knew that              See PX 16, Att. F, RT RFA Resp. No.
6           customers understood the email          52 (Tam. knew as early as March 26,
7           with the shipment status to mean        2020 that generating a mailing label
8           that the package had shipped.           sent a shipping confirmation to the
9                                                   customer); PX 16, Att. F, RT RFA
10                                                  Resp. No. 53 (Tam. knew that
11                                                  customers expressed confusion over
12                                                  receiving a shipping confirmation
13                                                  even though the tracking numbers
14                                                  indicated that ordered merchandise
15                                                  had not shipped); PX 16, Att. E, QYK
16                                                  RFA Resp. No. 120 (admitting that
17                                                  some customers were confused about
18                                                  the shipping confirmation); PX 16,
19                                                  Att. U, 9/23/21 DP Dep. Tr. 135:1-7
20                                                  (Whenever customers received
21                                                  notification of processing or pre-
22                                                  shipment, customers would make the
23                                                  assumption that [the order] was
24                                                  already been out to ship).
25
26
27
28
                                               47
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1         210.    Defendants sent one mass         PX 16, Att. W at 1 (March 11 Delay
2           email to its customers through         Option Notice); Att. L, 8/17/21 RT
3           Sendinblue on March 11, 2020.          Dep. Tr. 135:12-19, 136:1-9 (“From
4                                                  my memory, March 11th is the one
5                                                  activity notice we sent out en mass.”)
6         211.    The contents of the March        PX 16 ¶ 30, Att. W at 1.
7           11, 2020 email, produced by
8           Defendants as FTC-QYK-0002663
9           are reproduced on page 1 of
10          Johnson Decl. Att. W, “March 11
11          Delay Option Notice.”
12        212.    Defendants’ mistakenly           PX 16, Att. H, Relevant Portions of
13          stated they sent the March 11          QYK’s Responses to the FTC’s
14          Delay Option Notice on March 13.       Interrogatory Requests (“QYK ROG
15                                                 Resp.”) No. 2; PX 16, Att. E, QYK
16                                                 RFA Resp. No. 50, but see PX 16,
17                                                 Att. W at 2 (showing only one
18                                                 campaign sent on March 11, 2020).
19        213.    Defendants did not identify      PX 16, Att. W at 2-3 (Delay Option
20          the recipients of the March 11         Notice) (only indicating email was
21          Delay Option Notice.                   sent, without identifying recipients)
22
23        214.    Defendants admit they did        See PX 16, Att. E, QYK RFA Resp.
24          not notify customers through any       No. 57; see also id. at Nos. 54-55
25          other means.                           (admitting it only sent to those with
26                                                 email accounts).
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                                              48
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1         215.    Defendants admit they sent       PX 16, Att. E, QYK RFA Resp. No.
2           no notice of shipping delays to        51
3           customer for hand sanitizer prior to
4           the March 11 Delay Option Notice.
5         216.    Customers who had not            PX 4 ¶ 6; PX 5 ¶ 6; PX 6 ¶ 7;
6           received their items when              PX 3 ¶ 5;
7           anticipated contacted Glowyy           PX 1 ¶¶ 55, 61, 69
8           about the delays.
9         217.    Some of the customers who        PX 1 ¶ 58 (“I immediately emailed
10          contacted the company about            Glowyy.com via their service email
11          delays received no response.           and received no response.”), ¶ 61
12                                                 (“I’ve contacted Glowyy by phone
13                                                 and via e-mail within a few days of
14                                                 placing an order because it hadn't
15                                                 shipped as promised. Since I have
16                                                 received no response, I called my
17                                                 credit card company and reported
18                                                 them as fraud.”); ¶ 66 (A review
19                                                 posted on June 24, 2020, stated,
20                                                 “Same as the others. No response to
21                                                 my multiple inquires when the item
22                                                 never shipped 5 weeks later.”); PX 1
23                                                 ¶ Y at 152 (“Reached out on 4/23 for
24                                                 an update with no response.”); PX 3 ¶
25                                                 5; PX 4 ¶ 6; PX 5 ¶ 6; PX 6 ¶ 7.
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                                              49
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1         218.    Some of the customers who        PX 1 ¶¶ 55, 61, 69; PX 3 ¶ 5; PX 4 ¶
2           contacted the company about            7; PX 6 ¶¶ 8-9; PX 16, Att. X.
3           delays were told they would            See PX16, Att. H, Relevant Portions
4           receive their orders soon              of QYK’s Responses to the FTC’s
5           (sometimes with a specific date        Interrogatory Requests (“QYK ROG
6           range).                                Resp.”); Second Amended Resp. No.
7                                                  1 (“When shipments were not made
8                                                  within the advertised period, the
9                                                  responding team member would
10                                                 inform the customer of a tentative
11                                                 timeline”).
12        219.    Some customers followed up PX 16, Att. X.
13          with additional communications;
14          Defendants provided revised
15          shipping dates to these customers.
16        220.    Defendants’ revised shipping PX 1, Att. Y at 27 (gave multiple
17          dates were false, and were revised     revised shipping dates), 41 (provided
18          multiple times before Defendants       misleading email exchanges), 57
19          actually shipped the customers’        (contacted company said a week, “it
20          orders.                                has been another 18 days”), 77 (“they
21                                                 keep telling me they are shipping it
22                                                 and they don’t”), 101 (“It’s been
23                                                 various excuses from the USPS being
24                                                 delayed to having too many orders
25                                                 but each time I’m assured my order is
26                                                 ‘next to ship’ for 3 weeks.”), 127
27                                                 (discussing multiple revised shipping
28
                                              50
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1                                                    dates); 190 (“company has lied and
2                                                    told me the product is shipping”); see
3                                                    also PX 16, Att. X at 7-13 (ticket_id
4                                                    1487100); see generally PX 1, Att. P
5                                                    (TrustPilot Complaints), Att. Z
6                                                    (Shopify complaints), Att. Y (BBB
7                                                    Complaints).
8         221.    Even for those customers           See generally PX 1, Att. Y (BBB
9           who did get a refund, many had to        Complaints).
10          ask multiple times for a refund
11          before the company would honor
12          it.
13        222.    Johnson Decl., Att. X              PX 16 ¶ 47, Att. X at 7-13 (ticket_id
14          contains a typical exchange with a       1487100).
15          customer from the Gorgias
16          database; the order for the
17          customer in this exchange was not
18          shipped until April 26, 2020, and
19          he was not presented with an
20          option to cancel according to the
21          communication.
22        223.    Gorgias is a third-party           PX 16, Att. K, 8/16/21 RT Dep. Tr.
23          application that integrates with         154:18-25; PX 16, Att. U, 9/23/21 DP
24          Shopify.                                 Dep. 154:18-24; 81:7-22.
25
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1         224.    Gorgias is the customer             PX 16, Att. U, 9/23/21 DP Dep. Tr.
2           resource management (“CRM”)               76:14-25; Att. K, 8/16/21 RT Dep.
3           database that Defendants’                 Tr. 124:14-24; 155:15-156:10; 76:14-
4           maintained to track                       77-:1; PX 16, Att. E, QYK RFA
5           communications with customers             Resp. Nos. 136-139; PX 16, Att. H,
6           and potential customers.                  QYK ROG Second Amended Resp.
7                                                     No. 3 (“QYK’s employees handled
8                                                     customer service interactions using
9                                                     the Gorgias software.”)
10        225.    Defendants relied on content        PX 16, Att. E at 66, QYK RFA
11          of the Gorgias CRM database, and          Amended Resp. No. 141-144
12          the contents of the database were         (authenticating copy of Gorgias
13          maintained in the ordinary course         database communications produced
14          of business, and records were             by Gorgias); PX 16, Att. E, QYK
15          created at or near the time of the        RFA Resp. No. 147-148 (admitting
16          transaction.                              the Company authorized customer
17                                                    representatives to access database to
18                                                    communicate with customers); PX
19                                                    16, Att. U, 9/23/21 DP Dep. Tr. 80:6-
20                                                    82:14.
21        226.    The Gorgias records showed          PX 16, Att. U, 9/23/21 DP Dep. Tr.
22          information like how many times a         81: 7-22.
23          customer called and how long a
24          customer call lasted.
25
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27
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                                                 52
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1         227.     The Gorgias records showed         PX 16, Att. U, 9/23/21 DP Dep. Tr.
2           notes from customer service.              80:3-5; 81:7-22.
3
4
5         228.     The Gorgias records                PX 16, Att. U, 9/23/21 DP Dep. Tr.
6           contained the contents of the chats       80:6-12.
7           and customer service inquiries.
8
9         229.     Glowyy customer                    PX 1, Att. Z at 5, 11, 27, 30, 33, 36,
10          representatives told dozens, if not       39, 42, 53, 61, 67, 71, 75, 78, 81, 84,
11          more, of customers that their orders 87, 92, 193, 199; see also PX 16, Att.
12          would be shipped with the “next           X at 16-38.
13          batch” of orders around April 13,
14          2020, now that the Defendants
15          “finally secured a cargo plane with
16          the necessities to fulfill all our
17          delayed orders.
18        230.     Defendants never secured a         PX 16, Att. S, 8/20/21 BT Dep. Tr.
19          private air cargo plane.                  98:18-101:8; 117:1-9.
20
21
22        231.     Defendants specifically            PX 16, Att. N1 at 237-238, RT-QYK
23          instructed customer representatives 16 (Skype Archive 4/16/2020 11:56
24          to avoid refunds and offer revised        AM); see also id. at 247-248 (Skype
25          shipping dates, substitutions, and        Archive 4/10/2020 at 12:31 PM)
26          refunds of shipping charges
27          instead.
28
                                                 53
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1         232.      Danielle Paulo was the          PX 16, Att. K, 8/16/21 RT Dep. Tr.
2           Defendants’ Chief Marketing             58:22-59:8 (Paulo helped QYK with
3           Officer “CMO” at least during the       customer service, content creation
4           period between March and July           and marketing between March and
5           2020.                                   July 2020); 159:5-10 (Paulo
6                                                   supervised the US customer service
7                                                   reps and quit in July 2020); PX 16,
8                                                   Att. O, 8/18/21 JN Dep. Tr. 30:15-24;
9                                                   PX 16, Att. U, 9/23/21 DP Dep. Tr.
10                                                  37:18-38:1 (testifying she was chief
11                                                  marketing officer for both DJN and
12                                                  QYK); 41:16-20 (testifying she held
13                                                  the title CMO until she left in
14                                                  August).
15        233.      Danielle Paulo managed the      PX 16, Att. U, 9/23/21 DP Dep. Tr.
16          customer service team for Glowyy        48: 20-24; 49: 1-15; PX 16, Att. K,
17          and QYK Brands and Dr. J’s              8/16/21 RT Dep. Tr. 159:5-10 (Paulo
18          Natural.                                supervised the US customer service
19                                                  reps and quit in July 2020).
20        234.      Danielle Paulo had daily        PX 16, Att. U, 9/23/21 DP Dep. Tr.
21          meetings with RT, BT and Dr. J.         54: 4-20.
22          about shipments
23
24        235.      DP passed on information        PX 16, Att. U, 9/23/21 DP Dep. Tr.
25          learned in these daily meetings to      53:16-54:8.
26          the customer service team.
27
28
                                               54
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1         236.    DP had daily meetings with         PX 16, Att. U, 9/23/21 DP Dep. Tr.
2           Dr. J, RT, and BT in March 2020.         54:4-13; see PX 16, Att. M, 12/7/21
3                                                    RT Dep. Tr. 215:6-216:2 (discussing
4                                                    meetings); PX 16, Att. Q, 12/9/21 JN
5                                                    Dep. Tr. 205:15-206-11.
6         237.    DP would inform JN, BT,            PX 16, Att. U, 9/23/21 DP Dep. Tr.
7           and RT about the nature of the           57:18-58:22.
8           customer service inquiries they
9           were receiving during the daily
10          meetings.
11        238.    Danielle Paulo was                 PX 16, Att. U, 9/23/21 DP Dep. Tr.
12          responsible for responding to            27:1-22; 49:12-51:3.
13          customer complaints for both
14          Glowyy and DJN.
15        239.    DP, RT, JN, among others           PX 16, Att. H, QYK ROG Second
16          handled shipping time disputes and Amended Resp. No. 3
17          tracked shipments for customers.
18
19        240.    DP had authority to give           PX 16, Att. U, 9/23/21 DP Dep. Tr.
20          refunds and substitutions but did        74:7-21; 75:25-76:13.
21          not do so without confirming with
22          RT or JN first.
23        241.    Danielle Paulo                     PX 16, Att. U, 9/23/21 DP Dep. Tr.
24          communicated with customer               93:13-20 (Skype); 80:6-82:19
25          service representatives through          (discussing Gorgias); see also PX 16,
26          Skype and Gorgias.                       Att. K, 8/16/21 RT Dep. Tr. 133:7-24
27
28
                                                55
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1         242.    Danielle Paulo’s Skype ID is PX 16, Att. U, 9/23/21 DP Dep. Tr.
2           Live:.cid.49afd5d54f0d007d.            95:15-24; see also PX 16, Att.
3                                                  K,8/16/21 RT Dep. Tr. 133:7-21.
4
5         243.    Danielle Paulo sent the          PX 16, Att. N1 at 247-49, RT-QYK
6           following Skype message to the         16.
7           customer service team on or around
8           April 10, 2020:
9           Hi, does everyone here also have
            access to Slack? We have all the
10          updates on there from our
11          estimated shipping dates and also
            what we are informing customers
12          now. Just in case you don't I will
13          send it here as well:
14          •Just wanted to update that our new
15          estimated shipping date is April 23-
16          26th. We understand we told
            majority of the customers it would
17          be April 13-16th.
18          •Our First option would be to have
            them wait until the new shipping
19          date (April 23-26th) to get their
20          order.
            •Our second option would be to
21          CONVERT their existing order to
22          what we have available in our
23          warehouse and ship out as early as
            today If they are interested please
24          include it in the notes on their
25          account.
            •We have 2 types of bottles
26          currently that are ready to ship out
27          today (8oz and 4oz sizes)
28
                                             56
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1           •We will send you a chart that you
            can use to give customers the
2           correct conversions depending on
3           what they've ordered.
            DO NOT give customers
4           conversions without using the chart
5           we give you please.
            •Again, be sure to include whatever
6
            changes are made to these orders in
7           the notes on their account.
8
9
10        244.    Danielle Paulo sent the          PX 16, Att. N1 at 237-238, RT-QYK
11          following message via Skype to the 16.
12          customer service team on or around
13          April 16, 2020:
14          Please inform other customer
            service reps that we are working all
15          weekend to have orders with labels
16          that have been printed or fulfilled,
            shipped out this weekend. If they
17
            are asking for a refund here are the
18          steps before issuing them a full
19          refund

20          -Let them know it is already
21          packed and we cannot intercept
            that package as we have 1,000
22          orders being picked up daily by
23          USPS
            -Since it is at the final stages of
24
            processing, its awaiting pick up
25          -Since we do not want any
26          customers to feel obligated to keep
            their orders, upon receiving them,
27          all they have to do is reject their
28
                                             57
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1           order to be shipped back to us at no
            charge and we will issue a refund
2           immediately
3           -If they are still frustrated, for the
            delay, offer a refund on their
4           shipping cost only
5           -ONLY after all of this and they
            still do not want their products then
6
            we will issue a refund (:
7
8           For anything else, please send
            customer my way to help resolve
9           any issue. Thank you
10
11
12        245.    Danielle Paulo and Rakesh          PX 16, Att. U, 9/23/21 DP Dep. Tr.
13          Tammabattula authorized the              99:1-100:1.
14          instructions for handling refunds
15          for orders in “preshipment.”
16        246.    Defendants informed                See, e.g., PX 1 ¶ 61 (“You will
17          customers they could not issue a         demand a refund but they will say
18          refund once they had created a           they can’t refund your money because
19          shipping label, instead instructing      it is in ‘preshipment’ status.’”); ¶ 69
20          customers to intercept the mail          (Glowyy refused refund, saying they
21          carrier, reject the package and          could not refund once a “shipping
22          return to sender to receive a refund. label was created.”); ¶ 55 (“They
23                                                   claim they cannot cancel my order
24                                                   because it’s too late in the process.”);
25                                                   see generally PX 16, Att. Y; PX 16,
26                                                   Att. X at 1, 14 (ticket_ids 2573824,
27                                                   141970332).
28
                                                58
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1         247.    DP also handled customer          PX 16, Att. M, 12/7/21 RT Dep. Tr.
2           complaints concerning refunds.          217:3-9
3
4
5         248.    DP always checked with RT, PX 16, Att. U, 9/23/21 DP Dep. Tr.
6           BT, or Dr J before issuing refunds.     74:10-21.
7
8
9         249.    Defendants did not provide        PX 16, Att. U, 9/23/21 DP Dep. Tr.
10          refunds to customers once an order      96:13-97:2.
11          was in “pre-shipment.”
12
13        250.    “Pre-shipment” means that         PX 16, Att. U, 9/23/21 DP Dep. Tr.

14          [the order] is in the warehouse,        97:3-10.

15          being put into their packaging . . .

16          .”

17        251.    Defendants could not issue a      PX 16, Att. U, 9/23/21 DP Dep. Tr.
18          refund once an order was in pre-        97:11-16; 101:1-8.
19          shipment because there were
20          thousands of orders, and there was
21          “no way we could physically go
22          down to the warehouse, get that
23          specific order out.”
24        252.    Defendants also couldn’t          PX 16, Att. U, 9/23/21 DP Dep. Tr.
25          intercept orders for refund once in     101:9-13; PX 1, Att. AD (video at
26          preshipment because they printed        2:59 min. showing stacks of printed
27          stacks and stack of labels and          labels); see also PX 16, Att. H, QYK
28
                                               59
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1           couldn’t find them either even          ROG Second Amended Resp. No. 16
2           when not on the box.                    (discussing that they printed the
3                                                   labels in batches to send to packaging
4                                                   team).
5         253.    Defendants could not              PX 16, Att. U, 9/23/21 DP Dep. Tr.
6           intercept individual packages [for      101:1-8.
7           refund] due to the volume of
8           orders.
9         254.    Customers were incredulous        PX 16, Att. Y at 4 (ticket_id 3698767
10          they had to wait for items that had     [“If the package hasn’t even been
11          not yet shipped to arrive in the        completely fulfilled and packaged
12          mail, and then return that item back then why can’t we just cancel.”]; PX
13          to the company before receiving         16, Att. X at 14-15 (ticket_id
14          their money back.                       1970332); PX 1, Att. Z at 20 (“The
15                                                  order never left your facility….so
16                                                  how do you want it to be back
17                                                  then….you can truck [sic] the order
18                                                  for yourself, it was never picked
19                                                  up….so in that case how long will I
20                                                  want for the refund?”) (elipses in
21                                                  original); id. at 46 (“:it hasn’t even
22                                                  arrived at the post office for
23                                                  processing and shipping. So my
24                                                  order is in limbo and I have no idea
25                                                  where it is and you can tell me where
26                                                  it is and on top of that you refuse to
27                                                  give me my money back thanks for
28
                                               60
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1                                                  the horrific service!!!!!!!!”); id. at 49-
2                                                  50.
3
4
5         255.    Defendants explained that it     PX 16, Att. N1 at 263, RT-QYK 16
6           was their “policy” that once items     (Skype Archive, 3/23/2020, 1:25:53
7           were in “preshipment” they could       PM (From DP) “Hi team, just a
8           no longer authorize a refund.          reminder that if a customer wants to
9                                                  cancel and the order has been
10                                                 processed, pre-shipment, or has a
11                                                 tracking number: we cannot issue a
12                                                 refund anymore. Please let them
13                                                 know we are a little delayed with
14                                                 shipment due to a slower processing
15                                                 time during the circumstances and
16                                                 their tracking will update within 2-3
17                                                 days. If they still do not want their
18                                                 order, they can reject the shipment
19                                                 and it will be sent back to us and once
20                                                 we receive the item, we can issue a
21                                                 refund. Let me know if you have any
22                                                 questions. Thanks”)
23        256.    After a label was printed and PX 16, Att. U, 9/23/21 DP Dep. Tr.
24          was in the warehouse, a package        97:17-21.
25          was in pre-shipment.
26
27
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                                              61
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1         257.    “Return to sender” resulted       See generally PX 16, Att. Y; PX 1,
2           in dozens of customer complaints.       Att. Z at 15, 49, 135, 151, 157, 171,
3                                                   189, 207, 216, 222; PX 1, Att. Y at
4                                                   50, 53, 72, 85, 87, 108, 109, 110, 113.
5         258.    Other frustrated customers        See, e.g., PX 1 ¶¶ 55, 58, 59 Att. P;
6           demanded refunds.                       PX 3 ¶ 6; PX 4 ¶ 9; 5 ¶ 6; PX 6 ¶ 10;
7                                                   Att. Y (BBB complaints); PX 16, Att.
8                                                   E, QYK RFA Resp. No. 104
9                                                   (admitting customers complained to
10                                                  the company about shipping delays).
11        259.    Defendants sent orders after      See PX 16, Att. E, QYK RFA Resp.
12          consumers informed the company          No. 91.
13          they no longer wanted the item.
14
15        260.    Defendants realized that          PX 16, Att. AC.
16          some of these customers had been
17          successful in obtaining
18          chargebacks through their credit
19          card companies, Defendants
20          harassed them relentlessly for
21          payment.
22        261.    Some customers complied           PX 16, Att. Y (ticket_id 2642713);
23          and paid for hand sanitizer they        see generally PX 16, Att. AC; see
24          clearly had already cancelled and       also PX 9 ¶ 17 (“191 unique orders
25          did not want.                           that had a ‘Lineitem_name’ value of
26                                                  ‘Re-charge Refunding Items
27                                                  (Fulfiled)’”.
28
                                               62
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1                D. Defendants’ DJN Hand Sanitizer Sales.
2
3         262.       On or around March 4, when See PX 16, Att. O, 8/18/21 JN Dep.
4           Defendants began selling hand             Tr. 69:9-20 (testifying began selling
5           sanitizer through Glowyy, they also hand sanitizer on DJN website around
6           started similar campaigns to sell         March and April 2020).
7           hand sanitizer through DJN.
8         263.       Defendants disseminated          PX 16, Att. Q, 12/9/21 JN Dep. Tr.
9           various processing times on the           117:5-121:2; id. 120:4-18 (admitting
10          DJN website similar to those              that DJN coordinated with QYK to
11          claims on the Glowyy website.             determine processing times placed on
12                                                    website); see also PX 1, Att. B at 12-
13                                                    13.
14        264.       “Processing time” is the time PX 16, Att. Q, 12/9/21 JN Dep. Tr.
15          it takes the company “to receive          123:2-8.
16          the order, prepare it, print the label,
17          put it in a box, and then put it in the
18          mail.”
19        265.       Defendants disseminated          PX 16, Att. O, 8/18/21 JN Dep Tr.
20          various ads through Facebook,             95:25-96:6; see also PX 1, Att. E at
21          Instagram, and Twitter to promote         3-6 (Instagram); PX 2, Att. Z and AD
22          the sale of hand sanitizer through        (Facebook).
23          drsjnatural.com.
24        266.       DJN’s advertisements             See PX 1, Att. E at 5 (“fully
25          claimed it had hand sanitizer “In         stocked”); PX 2, Att. AC at 1 (“If
26          Stock.”                                   you’re looking for #handsanitizer and
27                                                    its sold out at the store, please visit us
28
                                                63
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1                                                    online at drjsnatural.com”); id. at 2
2                                                    (Mar. 13 “We now have our
3                                                    #handsanitizer available on our
4                                                    store.”); id. (Mar 16: “Looking for
5                                                    #handsanitizer? We have our new
6                                                    bottles and our 100ml bottle in-stock
7                                                    today but selling fast.”).
8         267.    Defendants also stated that        PX 2, Att. AE at 1 (Mar 10: “If
9           hand sanitizer ships “Today” on          ordered today we can ship today!”)
10          Twitter ads.
11
12        268.    Defendants did not engage in PX 16, Att. O, 8/18/21 JN Dep. Tr.
13          a separate Google AdWords                96:21-23.
14          campaign for DJN.
15
16        269.    Defendants sold                    Compare PX 9 ¶ 31 ($2.9M for
17          substantially less hand sanitizer        Glowyy) with ¶ 56 ($406K for DJN).
18          through DJN than through Glowyy. See also PX 16, Att. O, 8/18/21 JN
19                                                   Dep. Tr. 69:21-70:1 (testifying that
20                                                   the obtained hand sanitizer from
21                                                   Glowyy and DJN did not maintain its
22                                                   own inventory because “we didn’t
23                                                   sell a significant amount”)
24        270.    Defendants admit that they         PX 16, Att. Q, 12/9/21 JN Dep. Tr.
25          were unable to fulfill orders            123:11-124:1; 124:19-125:2
26          because there were more orders
27          than they could fulfill at once.
28
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1         271.    Defendants received                PX 16, Att. AE
2           numerous complaints from irate
3           customers about delays.
4
5         272.    Defendants received                PX 16, Att. R6, JN 53.
6           numerous complaints from irate
7           customers about broken and
8           leaking bottles of hand sanitizer
9           and other PPE.
10        273.    DJN continues to receive           See, e.g., PX 16, Att. R7-R8, JN 54-
11          complaints about broken and              55.
12          leaking bottles.
13
14        274.    Dr. J admits that a customer       PX 16, 12/9/21 JN Dep. Tr. 186:3-20.
15          receiving a broken or leaking bottle
16          is not receiving what they ordered.
17
18        275.    Defendants received                See PX 16, Att. AE.
19          numerous complaints from irate
20          customers about materially
21          different substitutions.
22        276.    Many customers requested           See PX 16, Att. AE.
23          refunds or cancellations, which the
24          company did not honor.
25
26
27
28
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1         277.     Defendants used a third-         PX 16, Att. O, 8/18/21 JN Dep. Tr.
2           party e-platform to manage the          60:20-24; PX 16, Att. Q, 12/9/21 JN
3           DJN website called Big                  Dep. Tr. 61:2-12.
4           Commerce.
5         278.     Big Commerce maintains all       PX 16, Att. Q, 12/9/21 JN Dep. Tr.
6           order data except the detailed          67:4-16 (shipped order status is based
7           tracking information showing            on generating and creating a shipping
8           shipment date for orders.               label); 67:17-21 (shipped date is the
9                                                   date the label is created); 96:3-18
10                                                  (ship date in Big Commerce is the
11                                                  date when the label is created not
12                                                  when it was put into the mail); 102:6-
13                                                  103:2 (RT testifying as corporate
14                                                  representative on behalf of DJN, see
15                                                  12/9/20 JN Dep. Tr. 101:14-19).
16        279.     Defendants’ Big Commerce         PX 9 ¶ 56, Table 5.
17          records show consumers purchased
18          $406,333.30 of hand sanitizer
19          through DJN between March and
20          August 2020.
21               E. Defendants Sold Basic Immune IGG as a Covid Preventative.
22
23
          280.     Defendants also offered a        PX 16, Att. O, 8/18/21 JN Dep. Tr.
24
            product called Basic Immune IGG.        116:15-18
25
26
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1         281.    Until August 2020,                PX 16, Att. D, Ans. to FAC ¶ 51; PX
2           Defendants, primarily through Dr.       16, Att. O, 8/18/21 JN Dep. Tr.
3           J’s Natural and Dr. J, offered a        119:3-5.
4           product called “Basic Immune
5           IGG” through their website
6           drjsnatural.com.
7         282.    Dr. J’s Natural also sold         PX 16, Att. O, 8/18/21 JN Dep. Tr.
8           Basic Immune IGG via                    119:3-5.
9           Amazon.com
10
11        283.    Basic Immune IGG was sold PX 16, Att. D, Ans. to FAC ¶ 51.
12          as part of a “COVID Essentials”
13          line of products.
14
15        284.    Dr. J made the decision to        PX 16, Att. O, 8/18/21 JN Dep. Tr.
16          sell Basic Immune IGG as a              120:3-9.
17          “Covid Essential.”
18
19        285.    Defendants sold Basic             PX 16, Att. D, Ans. to FAC ¶ 51.
20          Immune IGG for $89.
21
22
23        286.    Basic Immune IGG contains         See PX 1 ¶ 19, Att. C; PX 16, Att. D,

24          “ImmunoLin®,” a serum-derived           Ans. to FAC ¶ 53 (Basic Immune

25          bovine immunoglobulin (“SBI”)           IGG/Immunolin is a serum-derived

26          protein powder manufactured by          bovine immunoglobulin concentrate).

27          Entera Health, Inc.

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1         287.    Entera Health promotes the         See PX 16, Att. O, 8/18/21 JN Dep.
2           product primarily for healthy            Tr. 116:19-24 (Entera antibody
3           digestion and immune function.           powder); PX 1, Att. C.
4
5         288.    Entera Health authorizes the       PX 1, Att. H (Covid-19 Insight from
6           sale of ImmunoLin through                a Doctor Tr. 10:23-25); see also PX
7           doctors’ offices and does not            1, Att. C.
8           appear to sell the product directly
9           to consumers.
10        289.    Consistent with Entera’s           See PX 16, Att. D, Ans. to FAC ¶ 54
11          advertising, Defendants stuck to
12          these soft claims in their online
13          advertising on social media and its
14          website product pages.
15        290.    For example, on the website, See, e.g., PX 2, Att. R; PX 16, Att. D,
16          drjsnatural.com, Defendants              Ans. to FAC ¶ 54.
17          marketed Basic Immune IGG as a
18          “supplement” that “will help
19          support your immune system” and
20          “helps support healthy digestion.”
21        291.    In online videos, Defendants       PX 16, Att. F, RT RFA Resp. No. 87
22          claimed Basic Immune IGG can             (admitting he knew Dr. J appeared on
23          prevent transmission of COVID-           the DJN YouTube channel in videos
24          19; and Basic Immune IGG has             claiming that Basic Immune IGG is
25          been clinically tested and is FDA-       FDA-approved to treat, prevent, or
26          approved for prevention of               reduce the risk of COVID-19); PX 1,
27          COVID-19 transmission.                   Att. F-2, H, F-3, I)
28
                                                68
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1         292.        On or about April 2, 2020,        PX 1, Att. K; PX 8, Att. A; PX 16,
2            Dr. J appeared on a newscast on            Att. D, Ans. to FAC ¶ 57.
3            Saigon Entertainment Television
4            (SET) and stated that Basic
5            Immune IGG could “prevent”
6            COVID-19 by boosting the
7            immune system.
8         293.        Dr. J admits she appeared on PX 16, Att. O, 8/18/21 JN Dep. Tr.
9            Vietnamese television broadcasts           133:2-134:2.
10           and recommended Basic Immune
11           IGG “in connection with boosting
12           up your immune system and
13           prevention of all corona—all
14           bacteria and viruses, including
15           Covid-19.”
16        294.        Dr. J made the following          PX 8 at 19 (emphasis added).
17           statement during the April 2, 2020
18           video:
19     the immunoglobulin antibody therapy that
20     I take with this powder, like how I drank
21     and showed you earlier, is to increase my
22     existing antibodies and make them
23     stronger. The product helps strengthen
24     the army of soldiers already present in my
25     body. Then, let’s say if one coronavirus
26     happens to infiltrate my body, I
27     already have about five hundred
28
                                                   69
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1      thousand antibodies, thanks to this
2      powder. They would cling to and bite
3      that coronavirus, push it out and kill it.
4      . . . And now if Mr. Do Dung or our
5      dearest audience haven’t taken this
6      antibody powder yet, it means that if the
7      coronavirus enters your body, Mr. Do
8      Dung and you only have 5,000 antibodies
9      while I have 500,000 of them, because I
10     have been taking this antibody powder.
11        295.      She further claimed mixing          PX 8, Att. A at 11.
12           Basic Immune IGG with drinking
13           water could ward off COVID-19
14           infections, even if sitting next to an
15           infected person through the
16           following statement:
17     [L]et’s say if I sit next to Mr. Do Dung or
18     someone else or happen to touch
19     something and get infected with Covid-
20     19, at least I have already had more
21     antibodies that can detect the invasion
22     and cling to and attack the coronavirus.
23     It’s like, the antibodies will say, “hey,
24     bacteria are penetrating the body, let’s
25     come and fight it off
26
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1         296.    During this same                   PX 8, Att. A at 17-18 (in response to
2           “newscast,” Dr. J also claimed           the question “Is it guaranteed that we
3           Basic Immune IGG has been FDA- will stay safe [from COVID-19]?”
4           approved and has undergone               Dr. J responds, “It’s guaranteed,
5           clinical trials proving the efficacy     because there is FDA’s verification
6           of Basic Immune IGG for                  and approval.”); see also PX 8, Att. A
7           treatment, prevention, and reducing at 10.
8           the risk of COVID-19 infection
9         297.    Immediately after discussing PX 8, Att. A at 10.
10          the successful treatment of
11          COVID-19 patients with plasma
12          therapy—in which antibodies
13          harvested from those recovering
14          from COVID-19 are used to treat
15          patients “at risk of death”—Dr. J
16          went on to explain she was
17          “very happy, that at the same time,
18          my company has released a product
19          called Immune IgG. Our parent
20          company is the only company
21          obtaining the registered trademark
22          for this antibody product from the
23          FDA []. We have conducted
24          clinical studies, involving the
25          extraction and cultivation of
26          antibodies taken from cow blood,
27
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                                       #:3001



1           which is then made into this
2           antibody powder.”
3
4
5         298.    Two English-language              PX 1 ¶¶ 39-42, Att.s F-2, F-3, H-I.
6           videos on YouTube also touted
7           Basic Immune IGG as a
8           preventative and treatment for
9           COVID-19 with similar claims
10        299.    On or around June 8, 2020,        PX 16, Att. G, Relevant Portions of
11          Nguyen posted, or caused to be          Jacqueline Nguyen’s Responses to
12          posted, a video on the Dr. J’s          the FTC’s RFAs (“JN RFA Resp.”)
13          Natural YouTube channel entitled        No. 88.
14          “Covid-19 Insight from a Doctor
15          Q&A with Dr. J.” (“COVID
16          Insights Video”).
17        300.    Nguyen appeared in the            PX 16, Att. G, JN RFA Resp. No.
18          COVID Insights Video on the Dr.         89.
19          J’s Natural YouTube channel
20          responding to questions from her
21          viewing audience and customers
22          about COVID-19.
23        301.    On or about June 11, 2020,        PX 16, Att. G, JN RFA Resp. No. 92.
24          Nguyen appeared in a video posted
25          to the Dr. J’s Natural YouTube
26          channel.
27
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                                       #:3002



1         302.    The video posted on or              PX 16, Att. G, JN RFA Resp. No. 93.
2           around June 11, 2020 was entitled
3           “How does Immune IGG Work; Dr
4           J’s Natural Educational” (“How
5           does Immune IGG Work Video”).
6         303.    Nguyen posted, or caused to         PX 16, Att. G, JN RFA Resp. No. 94.
7           be posted, the How Does Immune
8           IGG Work Video.
9
10        304.    In the June 8, 2020 COVID           PX 1 ¶ 40, Att. H (Covid 19- Insight
11          Insights Video Dr. J responds to          from a Doctor Tr. 9:17-19).
12          questions regarding COVID-19
13          from consumers, and she addresses
14          the question, “What is the best
15          preventative measure to take
16          now?”
17        305.    Her response—use Dr. J’s            PX 1 ¶ 40, Att. H (Covid 19- Insight
18          hand sanitizer and take Basic             from a Doctor Tr. 10:10-11:9)
19          Immune IGG. Basic Immune IGG              (emphasis added).
20          will boost the immune system, “so
21          just in case you get infected with
22          the virus, then your body will be
23          able to fight back and destroy all
24          the Coronavirus that is entering
25          your body.”
26
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                                       #:3003



1         306.    In a June 11, 2020 English-         PX 1 ¶¶ 40-42, Att.s F-3, I. See also
2           language YouTube video titled             PX 2, Att. AD at 2 (Immune IGG
3           “How Does Immune Igg Work,”               “helps strengthen the body’s natural
4           Dr. J claimed Basic Immune IGG            defense system to lower the risk of
5           was a “prevention” for COVID-19,          infection in persons with a weakened
6           and suggests it had been clinically       immune system, which is important
7           tested and had a “patent” from the        during this #COVID pandemic.”).
8           FDA for COVID-19 prevention
9           and treatment.
10        307.    In that video, Dr. J further        PX 1, Att. I (How Does Immune Igg
11          claimed Basic Immune IGG is               Work Tr. at 7:1-8; see also id. at 5:3-
12          specifically formulated to target         21 (comparing Basic Immune IGG to
13          COVID-19: “out of all of the              plasma therapy)).
14          product on the market right now,
15          whether it’s Echinacea, zinc,
16          vitamin C, probiotic, those are just
17          a small part of the equation that
18          will boost up your immune system.
19          But to be specific and to be laser-
20          target [sic], immune IgG will boost
21          up your antibody and your
22          immunoglobulin for your body to
23          help recognize viruses and bacteria,
24          especially coronavirus.”
25
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                                                 74
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1         308.    Dr. J confirmed social media       PX 16, Att. U, 9/23/21 DP Dep. Tr.
2           content before it was posted.            45: 9-11.
3
4
5         309.    Basic Immune                       PX 16, Att. D, Ans. to FAC ¶ 64.
6           IGG/Immunolin is not an FDA-
7           approved treatment or preventative
8           for COVID-19.
9         310.    The materials provided by          PX 16, Att. O, 8/18/21 JN Tr. 118:8-
10          the sales representative who sold        20.
11          Basic Immune IGG to Dr. J did not
12          mention Covid-19.
13        311.    The clinical data from Entera PX 16, Att. O, 8/18/21 JN Tr. 126:1-
14          Health [about Basic Immune IGG]          3.
15          did not mention Covid-19.
16
17        312.    Tammabattula knew that Dr.         PX 16, Att. F, RT RFA Resp. No. 88.
18          J’s Natural had no competent and
19          reliable scientific evidence for the
20          claim that Basic Immune IGG
21          could treat, prevent, or reduce the
22          risk of contracting COVID-19.
23        313.    Tammabattula knew that Dr.         PX 16, Att. F, RT RFA Resp. RFA
24          J’s Natural had no competent and         No. 89.
25          reliable scientific evidence for the
26          claim that Basic Immune IGG was
27          FDA-approved to treat, prevent, or
28
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1           reduce the risk of contracting
2           COVID-19.
3
4
5     IV.   INDIVIDUAL PARTICIPATION AND KNOWLEDGE OF
6           CONTROL PERSONS.
7
8
9         314.    Defendant Tammabattula            PX 16, Att. D, Ans. to FAC. ¶ 10.
10          admits that “[a]t all times material
11          to the FAC, acting alone or in
12          concert with others, RT has
13          formulated, directed, or controlled,
14          had the authority to control, or
15          participated in the acts and
16          practices of QYK, EASII, and
17          Theo Pharmacy.”
18        315.    Defendant Tammabattula            PX 16, Att. F, RT RFA Resp. Nos.
19          solely managed the advertising and 14-17.
20          the QYK website.
21
22        316.    Defendant Tammabattula            PX 16, Att. K, 8/16/21 Dep. Tr.
23          learned on March 3 or 4 that the        168:2-13 (discussing that the original
24          first shipment of hand sanitizer        shipment from Syndy Pharma was
25          expected from India would be            supposed to be delivered March 3rd,
26          delayed and he did not know when        but “then got pushed back to March
27          it would arrive.                        4th”); 168:19-169:5 (pushed back but
28
                                               76
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                                       #:3006



1                                                ultimately delivered on March 9); Att.
2                                                L, 8/17/21 RT Dep. Tr. 133:10-14)
3                                                (“Q: So March 4th was the first time
4                                                you were aware of any delays in the
5                                                shipment of the hand sanitizer that
6                                                you were going to be selling to the
7                                                public. A: Right.”); 39:6-11; see also
8                                                PX 16, Att. S, 8/20/21 BT Dep. Tr.
9                                                48:7-12) (“shipments were scheduled
10                                               to arrive, I believe, on the 3rd or 4th of
11                                               March. I’m not sure. And it did not
12                                               happen. There were delays.”).
13        317.    Defendant Tammabattula         PX 16, Att. L, 8/17/21 RT Dep. Tr.
14          never voluntarily stopped or         59:19-20 (did not pause the March 4
15          paused his advertising campaigns.    Google AdWords campaign when he
16                                               learned of delays); 54:1-10 (Google
17                                               disabled March 4 Google AdWords
18                                               campaign, not his decision to stop
19                                               running ads); PX 16, Att. M, 12/7/21
20                                               RT Dep. Tr. 126:7-127:25 (Facebook
21                                               disabled ads); 138:23-139:9
22                                               (Microsoft Bing account disabled in
23                                               March 2020)
24        318.    Defendant Tammabattula         PX 16, Att. F, RT RFA Resp. No. 14.
25          had the authority to control QYK’s
26          website www.glowyy.com.
27
28
                                            77
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1         319.      Defendant Tammabattula          PX 16, Att. E, QYK RFA Resp. No.
2           had the authority to control QYK’s      28; PX 16, Att. F, RT RFA Resp. No.
3           advertising since at least November 16.
4           2017.
5         320.      Defendant Tammabattula          PX 16, Att. F, RT RFA Resp. No. 4.
6           authorized QYK to represent in the
7           March 4 Google AdWords
8           Campaign that the company had
9           hand sanitizer “in stock.”
10
11        321.      Defendant Tammabattula          PX 16, Att. F, RT RFA Resp. No. 5.

12          authorized QYK to represent in the

13          March 4, 2020 Google AdWords

14          campaign that the company ships

15          hand sanitizer “today.”

16        322.      Defendant Tammabattula          PX 16, Att. F, RT RFA Resp. No. 6;
17          authorized QYK to represent in the      No. 12 (“ships hand sanitizer the
18          March 4 Google AdWords                  same day it is ordered.”)
19          campaign that shipping time for
20          hand sanitizer is the same day.
21        323.      Defendant Tammabattula          PX 16, Att. F, RT RFA Resp. No. 7.
22          authorized QYK to run the March
23          4 Google AdWords campaign
24          through at least March 18, 2020.
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1         324.    Defendant Tammabattula             PX 16, Att. E, QYK RFA Resp.
2           authorized the March 4 Google Ad         No.19; PX 16, Att. F, RT RFA Resp.
3           campaign.                                No. 9.
4
          325.    Defendant Tammabattula             PX 16, Att. F, RT RFA Resp. No. 15.
5
            had the authority to control QYK’s
6
            advertisements.
7
8         326.    Defendant Tammabattula             PX 16, Att. E, QYK RFA Resp. No.
9           had the authority to control QYK’s       20; PX 16, Att. F, RT RFA Resp. No.
10          March 4 Google AdWords                   10.
11          campaign.
12        327.    Defendant Tammabattula             PX 16, Att. E, QYK RFA Resp. No.
13          had the authority to control the         21; PX 16, Att. F, RT RFA Resp. No.
14          advertisements disseminated              11.
15          through the March 4 Google Ad
16          campaign.
17        328.    Defendant Tammabattula             PX 16, Att. K, 8/16/21 RT Dep. Tr.
18          asked his brother Balaji to help         161:10-162:11.
19          secure additional hand sanitizer
20
21        329.    Balaji Tammabattual did not        PX 16, Att. S, 8/20/21 BT Dep. Tr.
22          begin to try to secure additional        48:1-6.
23          hand sanitizer until March 6, 2020.
24
25        330.    Defendant Tammabattula             PX 16, Att. E, QYK RFA Resp. No.

26          knew in early March 2020 that            98; PX 16, Att. F, RT RFA Resp. No.

27                                                   37; see also PX 16, Att. N1, RT-QYK

28
                                                79
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1           there was increased consumer          16 at 315 (RT instructing Philippines
2           demand for hand sanitizer.            customer service reps that “90%” of
3                                                 the people will want to know “if
4                                                 product is available.”); PX 16, Att. H,
5                                                 QYK ROG Amended Resp. No. 10
6                                                 (QYK began “in house” production
7                                                 the second week of March due to
8                                                 increased demand).
9         331.    Defendant Tammabattula          8/17/21 RT Dep. Tr. 117:21-118:16.
10          became aware of the “full gravity
11          of the situation” by March 12th or
12          13th regarding delays in shipping.
13        332.    Defendant Tammabattula          PX 1, Att. T at 68-134; PX 16, Att.
14          made numerous public statements       N10 at 28, RT-QYK 55
15          acknowledging consumer demand         (EverybodyWiki page: “The company
16          for hand sanitizer.                   had a shortage of supplies and alcohol
17                                                used for hand sanitizers due to
18                                                COVID-19 and could not keep up
19                                                with demand.”).
20        333.    Defendant Tammabattula          PX 1, Att. T at 70-134; PX 16, Att.
21          made several public statements        N10 at 28, RT-QYK 55
22          acknowledging his company lacked (EverybodyWiki page: “The company
23          product ingredients and packaging.    had a shortage of supplies and alcohol
24                                                used for hand sanitizers due to
25                                                COVID-19 and could not keep up
26                                                with demand.”).
27
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1         334.     Defendant Tammabattula           PX 1 ¶ 46, Att. L.
2           said in a March 26, 2020 article
3           published online Defendants “saw
4           the surge in searches for hand
5           sanitizer [in early March]. That’s
6           when we started ramping up our
7           production.”
8         335.     Defendants published this        PX 1, Att. T at 133.
9           article on the website www.qyk.us.
10
11
12        336.     Yet, just a few days later, he   PX 1 ¶ 47, Att. M.
13          announced the company only had
14          enough raw ingredients for about
15          two weeks’ worth of hand
16          sanitizer, and “timelines for
17          production have been extended six
18          to eight weeks” compared to the
19          typical two or three weeks.
20        337.     Defendant Tammabattula           PX 16, Att. F, RT RFA Resp. No.57-
21          knew at least by April 3, 2020 that     58.
22          there were shortages of raw
23          materials for hand sanitizer and
24          plastic bottles.
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1         338.     In an April 7, 2020 article,        PX 1, Att. T at 382 (April 7); see also
2           Mr. Tammabattula reiterated there          id. at 373 (April 21: “The challenge
3           were not enough raw ingredients            with the supply chain for hand
4           for hand sanitizer: “Raw materials         sanitizers that we are currently facing
5           from alcohol and polymer                   is . . . the shortage in sourcing any
6           compounds to plastic bottles and           raw material from alcohol to
7           dispensing pumps. They are sold            necessary chemical compounds and
8           out and back-ordered for about 8           plastic bottles and pumps.”)
9           weeks from all traditional sources.”
10        339.     On or around April 9, 2020,         PX 16, Att. F, RT RFA Resp. No. 59.
11          Tammabattula knew that there
12          were not enough raw ingredients
13          for hand sanitizer.
14        340.     On or around April 9, 2020,         PX 16, Att. F, RT RFA Resp. No. 60.
15          Tammabattula knew that there was
16          not enough of the chemical
17          compounds to make gel for hand
18          sanitizer.
19        341.     On or around April 9, 2020,         PX 16, Att. F, RT RFA Resp. No. 62.
20          Tammabattula knew that chemical
21          manufacturers that provided
22          thickeners for hand sanitizer were
23          providing those chemicals to
24          bigger companies, like GOJO
25          Industries, Inc., rather than to
26          QYK.
27
28
                                                  82
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1         342.     On or around April 17, 2020, PX 16, Att. F, RT RFA Resp. No. 63.
2           Tammabattula stated “most
3           manufacturers are just worried
4           about how to continue producing
5           [hand sanitizer.]”
6         343.     On or around April 21, 2020, PX 16, Att. F, RT RFA Resp. No. 64.
7           Tammabattula knew that QYK was
8           close to not having enough alcohol
9           to continue production of hand
10          sanitizer.
11        344.     On or around April 21, 2020, PX 16, Att. F, RT RFA Resp. No. 65.
12          Tammabattula knew that there
13          were shortages in sourcing raw
14          materials, from alcohol to
15          necessary chemical compounds and
16          plastic bottles and pumps.
17        345.     On or around April 23, 2020, PX 16, Att. F, RT RFA Resp. No. 66.
18          Tammabattula stated that there
19          were shortages of raw materials for
20          PPE.
21        346.     On or around April 23,          PX 16, Att. F, RT RFA Resp. No. 67.
22          20202, Tammabattula stated that
23          there was insufficient supply chain
24          to produce PPE in the United
25          States.
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                                              83
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1         347.     On or around April 23, 2020, PX 16, Att. F, RT RFA Resp. No. 68.
2           Tammabattula stated that QYK
3           was ramping up production of hand
4           sanitizer, but there were “major
5           issues” in the supply chain.
6         348.     On or around April 23, 2020, PX 16, Att. F, RT RFA Resp. No. 69.
7           on the program “Daily Caller,”
8           Tammabattula stated that a major
9           component that QYK needed for
10          hand sanitizer production was the
11          plastic bottles.
12        349.     On or around April 23, 2020, PX 16, Att. F, RT RFA Resp. No. 70.
13          on the program “Daily Caller,”
14          Tammabattula stated that plastic
15          bottles for hand sanitizer had to be
16          imported, and there was no way
17          around this.
18        350.     On or around April 23, 2020, PX 16, Att. F, RT RFA Resp. No. 72.
19          on the program “Daily Caller”
20          Tammabattula stated that there
21          were continuing logistical
22          challenges for importing plastic
23          bottles from China.
24        351.     Defendant Tammabattula           PX 16, Att. H at 22-23, 34-35, QYK
25          knew of the difficulties in getting     ROG Amended Resp. No. 14 (“There
26          hand sanitizer through customs,         were multiple past due shipments and
27                                                  other shipments that were delivered
28
                                               84
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1           with multiple shipments detained        past the date the vendors said they
2           or not released at all.                 would be.”); PX 16, Att. H at 30-31,
3                                                   QYK ROG Second Amended Resp.
4                                                   No. 1 (“Some of these shipments
5                                                   were withheld due to new,
6                                                   temporarily implemented emergency
7                                                   regulations preventing shipments
8                                                   from India.”); PX 16, Att. L, 8/17/21
9                                                   RT Dep. Tr. at 105:15-21 (admitting
10                                                  “many” shipments were delayed); PX
11                                                  16, Att. AB (FDA Detention); PX 16,
12                                                  Att. K, 8/16/21 RT Dep. Tr. 152:9-24
13                                                  (discussing detained shipments from
14                                                  India); PX 16, Att. L, 8/17/21 RT
15                                                  Dep. Tr. 117:21-118:7 (he came to
16                                                  understand the “full gravity” of the
17                                                  delays by March 12th or March 13th).
18        352.     Defendant Tammabattula           PX 16, Att. L, 8/17/21 RT Dep. Tr.
19          also knew that the Defendants           39:1-11; 42:4-11; 57:22-24 (stating
20          allowed customers to purchase           that “the anticipation was that by the
21          hand sanitizer based only on            time the ad would be approved, we
22          hopeful expectation of receiving        would have the product available and
23          shipments, not actual inventory         ready to ship”); 58:3-19; 69:24-71:18
24                                                  (admitting they placed an
25                                                  approximate quantity of a particular
26                                                  product into Shopify based on
27                                                  expected shipments); PX 16, Att. H at
28
                                               85
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1                                                  33-34, QYK Second Amended ROG
2                                                  Resp. No. 10 (admitting based
3                                                  shipping times based on anticipated
4                                                  shipments, not actual deliveries).
5         353.    Defendant Tammabattula           PX 16, Att. F, RT RFA Resp. No. 43
6           was aware of hundreds of               (admitting aware of complaints re
7           complaints pouring in every day        shipping delays); see PX 16, Att. U,
8           about late and delayed hand            9/23/21 DP Dep. Tr. 83:5-25
9           sanitizer orders.                      (discussing the call volume); 85:4-7
10                                                 (DP asked RT for help with
11                                                 responding to customer service calls);
12                                                 49:21-50:3 (DP hired approximately
13                                                 20 people because of the high volume
14                                                 of customer calls every day); see also
15                                                 PX 16, Att. AD at 3 (admitting to
16                                                 Shopify that orders had not been
17                                                 fulfilled); PX 16, Att. AF (email from
18                                                 RT “Apologies for the delays on our
19                                                 side. Our warehouse is extremely
20                                                 backed up”); see generally PX 16,
21                                                 Att. N1 (Skype communications
22                                                 between RT and customer service
23                                                 representatives).
24        354.    And he knew that Shopify         PX 16, Att. AD at 3.
25          was concerned about the mounting
26          number of unfulfilled orders piling
27          up in the system, telling Shopify on
28
                                              86
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1           March 16 that they “will be able to
2           fulfill 90% of the orders this
3           week.”
4
5         355.    Defendant Tammabattula’s         PX 9, Geiran Decl., Att. B at 63
6           statement to Shopify was               (showing shipment delays continuing
7           completely baseless and proved         through April).
8           wholly untrue.
9         356.    Shopify placed multiple          PX 16, Att. K, 8/16/21 RT Dep. Tr.
10          holds on the Glowyy account            180:3-181:12
11          beginning in March.
12
13        357.    The hold placed by Shopify       PX 16, Att. K, 8/16/21 RT Dep. Tr.
14          in March “was to verify that           181:6-10
15          [Defendants] were actually
16          shipping the product and to verify
17          the authenticity of the company.”
18        358.    The second hold placed by        PX 16, Att. K, 8/16/21 RT Dep. Tr.
19          Shopify on the Glowyy account          181:10-12
20          was “because of the charge backs
21          being larger than the threshold that
22          they normally allowed.”
23        359.    PayPal also placed a hold on     PX 16, Att. K, 8/16/21 RT Dep. Tr.
24          releasing funds to Defendants for      178:9-179:1
25          purchases made through Glowyy.
26
27
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                                              87
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1         360.    PayPal placed the hold on          PX 16, Att. K, 8/16/21 RT Dep. Tr.
2           the Glowyy account approximately         179:13-17
3           in mid-March 2020.
4
5         361.    PayPal released some funds         PX 16, Att. K, 8/16/21 RT Dep. Tr.
6           toward the end of March, but they        179:18-180:2.
7           continued to hold approximately
8           90% until October 2020.
9         362.    The hold on the Glowyy             PX 16, Att. K, 8/16/21 RT Dep. Tr.
10          account was for reasons similar to       178:21-25.
11          Shopify’s hold, “making sure that
12          we had product available and we
13          were sending shipments” for the
14          orders they were taking.
15        363.    Tammabattula knew that             PX 16, Att. F, RT RFA Resp. No.44.
16          QYK received complaints from
17          some customers about not
18          receiving the correct merchandise.
19        364.    Dr. J admits that “[a]t all        PX 16, Att. D, Ans. to FAC. ¶ 11.
20          times material to the FAC, acting
21          alone or in concert with others, Dr.
22          J. has formulated, directed, had the
23          authority to control, or participated
24          in the acts and practices of Dr. J’s
25          Natural and Theo Pharmacy.”
26
27
28
                                                88
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1         365.     Dr. J knew in early March            PX 16, JN RFA Resp. No. 16.
2           2020 that there was increased
3           consumer demand for hand
4           sanitizer.
5         366.     Dr. J knew consumers were            PX 16, JN RFA Resp. No. 17
6           having difficulty finding hand
7           sanitizer to purchase in March
8           through May 2020.
9         367.     Dr. J was directly involved          PX 16, Att. O, 8/18/21 JN Dep. Tr.
10          in printing labels and labeling             40:23-41:3; PX 16, Att. Q, 12/9/21
11          shipments.                                  JN Dep. Tr. 200:17-201:5; 202:10-
12                                                      203:25.
13        368.     Dr. J knew that a lot of             PX 16, Att. O, 8/18/21 JN Dep. Tr.
14          customers were complaining.                 111:10-12.
15
16
17        369.     In a video appearing on              PX 16, Att. D, Ans. to FAC ¶ 45; PX
18          YouTube April 2, 2020, she                  16, JN RFA Resp. No. 64; PX 1 ¶ 44,
19          publicly addressed the numerous             Att. J (Your Order Updates for Dr. J’s
20          complaints and concerns about the           Natural Hand Sanitizers Tr. 5:3-5).
21          shipping delays, acknowledging
22          Defendants were experiencing
23          delays and imploring consumers to
24          “be patient . . . I know that I will
25          have over 100,000 bottles of hand
26          sanitizer, the 300ml, that we can be
27          able to send out.”
28
                                                   89
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1         370.    The April 2, 2020 video           PX 16, JN RFA Resp. No. 65.
2           referenced in Undisputed Fact No.
3           369 that was posted on the Dr. J’s
4           Natural YouTube channel on or
5           around April 2, 2020 was entitled,
6           “Your Order Updates for Dr. J’s
7           Natural Hand Sanitizers Is Glowyy
8           Legit?” (“Order Updates Video”).
9         371.    Dr. J admits that at least        PX 16, JN RFA Resp. Nos. 66-68;
10          some consumers have been waiting PX 1 ¶ 44, Att. J (Your Order
11          more than 7 days due to                 Updates for Dr. J’s Natural Hand
12          “uncertainty on the manufacturing       Sanitizers Tr. 5:3-5). Id., Att. J (Your
13          side,” and that it has been “difficult Order Updates for Dr. J’s Natural
14          to source the bottle or the pump.”      Hand Sanitizers Tr. 5:6). Id., Att. J
15                                                  (Your Order Updates for Dr. J’s
16                                                  Natural Hand Sanitizers Tr. 5:17-18);
17                                                  Id., Att. J (Your Order Updates for
18                                                  Dr. J’s Natural Hand Sanitizers Tr.
19                                                  6:9-10).
20        372.    On or around May 25, 2020,        PX 16, JN RFA Resp. No. 73; PX 16,
21          Nguyen posted or caused to be           Att. O, 8/18/21 JN Dep. Tr. 114:1-7
22          posted, a video on the Dr. J’s          (admitting she appeared in the video).
23          Natural YouTube channel entitled
24          “We Finally Caught Up!
25          DrJsNatural Shipment Update”
26          (“Caught Up Video”).
27
28
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1         373.    Nguyen acknowledged in the PX 16, JN RFA Resp. No. 75; PX 16,
2           Caught Up Video that customers           Att. O, 8/18/21 JN Dep. Tr. 116:3-9.
3           have waited “three weeks” for
4           shipments of Dr. J’s Natural brand
5           hand sanitizer orders.
6         374.    Dr. J’s Natural was                PX 16, Att. O, 8/18/21 JN Dep. Tr.
7           unprepared for the large influx of       114:15-19.
8           orders [of hand sanitizer].
9
10        375.    Notably, the numerous              See, e.g., PX 1, Att. E at 4
11          advertisements and statements by         (“formulated in house”); PX 1, Att. T
12          Tammabattula and Dr. J conveyed          at 128 (news article discussing
13          another lie—that they were               “Garden Grove-based hand sanitizer
14          manufacturing the hand sanitizer         manufacturer”); PX 2, Rottner Decl.
15          in-house.                                Att. AB (“MADE IN USA IN FDA &
16                                                   CGMP CERTIFIED FACILITY)
17        376.    In reality, they contracted        PX 16, Att. L, 8/17/21 RT Dep. Tr.
18          with third parties to manufacture a      125:24-126:11; 127:8-13; 128:12-24.
19          generic formula of hand sanitizer
20          approved by the FDA, or used hand
21          sanitizer that was already being
22          manufactured for distribution under
23          “white labels,” that is, for any
24          company that will pay.
25
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1         377.    Defendant Tammabattula              PX 16, Att. F, RT RFA Resp. Nos.
2           admits that he knew there was no          86-89.
3           scientific evidence to support the
4           claims that Basic Immune IGG
5           could treat, prevent, or reduce risk
6           of contracting COVID-19 and he
7           knew there was no scientific
8           evidence that it was FDA-approved
9           for those purposes.
10        378.    Defendant Tammabattula              PX 16, Att. B, Ans. To Compl ¶ 55
11          admits that he knew there was no          (“Admit that Basic Immune
12          scientific evidence to support these      IGG/Immunolin is not an FDA-
13          claims, and Defendants admit that         approved treatment or preventative
14          Basic Immune IGG is not FDA               for COVID-19 as alleged in
15          approved as a COVID-19                    paragraph 55 of the Complaint”); PX
16          preventative.                             16, Att. D, Ans. to FAC ¶ 6
17                                                    (admitting all allegations that “In fact,
18                                                    Basic Immune IGG/Immunolin is not
19                                                    an FDA-approved treatment or
20                                                    preventative for COVID-19).
21     V.   CONSUMER INJURY.
22
          379.    During the early weeks of           PX 16, Att. D, Ans. to FAC ¶ 22; see
23
            the pandemic quarantine in the            also PX 16, Att. U, 9/23/21 DP Dep.
24
            United States, obtaining hand             Tr. 87: 3-5 (customers called and
25
            sanitizer as quickly as possible was asked “It’s been two days, three days.
26
            paramount for many consumers.             Why am I not getting my order?”).
27
28
                                                 92
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1         380.    This high demand made            PX 16, Att. D, Ans. to FAC ¶ 22.
2           products difficult to find.
3
4
5         381.    FTC’s investigator               See generally PX 1 ¶¶ 53-79
6           documented more than 250               (discussing consumer complaints),
7           consumer complaints over the span Atts. P, Y, Z; PX 16, Atts. X, Y, Z.
8           of just a few months.
9         382.    Consumers ordered these          PX1 ¶¶ 56, 62, 71, 77; Ex. 3 ¶¶ 2, 9;
10          products solely because they           Ex. 4 ¶ 2; Ex. 5 ¶ 2; Ex. 6 ¶¶ 2-4; PX
11          believed these products were in        16, Att. U, 9/23/21 DP Dep. Tr. 88;
12          stock and would arrive within days. 9-13 (“People were very hesitant on
13                                                 placing the order, like I said, we were
14                                                 the only company out there that
15                                                 provided them or had them in
16                                                 stock.”).
17        383.    Consumers were forced to         See generally PX 1 ¶¶ 53-79, Att. P,
18          chase down Defendants to find out      Y, Z; PX 16, Att. X, Y, Z; see also
19          when their products would arrive.      PX 16, Att. AE (DJN complaints).
20
21        384.    Defendants illegally refused     PX 1 ¶ 58 (22 Sentinel complaints for
22          to cancel consumers’ orders or         consumers requesting a refund; only
23          refund their money.                    two reported receiving a refund
24                                                 through their credit card company or
25                                                 Pay Pal); id. ¶ 65-66 (two out of 27
26                                                 Trustpilot reviews reported receiving
27                                                 requested refunds); see also PX 1 ¶
28
                                              93
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1                                                    61 (“You will demand a refund but
2                                                    they will say they can’t refund your
3                                                    money because it is in ‘preshipment’
4                                                    status.’”); ¶ 69 (Glowyy refused
5                                                    refund, saying they could not refund
6                                                    once a “shipping label was created.”);
7                                                    ¶ 55 (“They claim they cannot cancel
8                                                    my order because it’s too late in the
9                                                    process.”); PX 16, Att. Y, PX 16, Att.
10                                                   X (ticket_ids 2573824, 1970332).
11        385.    Some consumers were                See generally PX 3-6; PX 1 ¶¶ 53-79,
12          forced to order the products from        Att. P, Y, Z; PX 16, Att. X, Y, Z, and
13          other merchants, to obtain refunds       AE.
14          through their credit card
15          companies, or simply wait at the
16          mercy of Defendants.
17        386.    Numerous consumers                 PX 1 ¶ 57 (19 complaints on Sentinel
18          reported either not receiving the        reported never receiving ordered
19          products at all, or receiving            products); ¶ 61 (39 Trustpilot reviews
20          unauthorized, materially different       about not receiving ordered
21          substitutions.                           products); ¶ 64 (three Trustpilot
22                                                   reviews about receiving unauthorized
23                                                   substitutions); see also PX 6 ¶ 12
24                                                   (substitution); see also PX 16, Att. U,
25                                                   9/23/21 DP Dep. 88: 25 (consumers
26                                                   called to complain about receiving
27
28
                                                94
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1                                                   different products than what they
2                                                   ordered).
3
4
5         387.     Customers complained about PX 16, Att. U, 9/23/21 DP Dep. Tr.
6           receiving damaged bottles.              92:11-14.
7
8
9         388.     Defendants processed at          PX 9, Geiran ¶ 17
10          least 43,749 orders through
11          Glowyy for hand sanitizer and
12          PPE.
13        389.     Consumers placed 43,633          PX 9, Geiran ¶ 27, Table 2.
14          orders for hand sanitizer or PPE
15          between March and August 2020.
16
17        390.     Of the 43,633 orders for         PX 9 ¶¶ 25-27, and Table 2.
18          hand sanitizer or PPE between
19          March and August 2020, 39,724
20          were shipped late under Scenario 5,
21          which assumes the following
22          shipment time claims:
23           3/4/20-3/18/20, 1 day
24           3/19/20-3/31/20, 10 days
25           4/1/20-5/18/20, 1 day
26           5/19/20-12/29/20 10 days.
27
28
                                               95
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1         391.    In total, there were 43,749        PX 9 ¶ 31
2           orders paid for between March and
3           December 2020, totaling
4           $2,944,899.89. From March 1,
5           2020 through August 31, 2020,
6           there were 43,633 orders, gross
7           amount $2,933,692.11.
8         392.    Of the 43,749 orders, 3,837        PX 9 ¶¶ 18, 32.
9           order did not have a shipment date;
10          1,335 did have a “Fulfilled_at”
11          date; 2,502 have neither a
12          “Fulfilled_at” date nor a shipment
13          date, but do have a “paid at” date.
14        393.    The total amount attributable PX 9 ¶ 32.
15          to unshipped goods less refunds is
16          $62,850.94.
17
18        394.    Between March 4, and               PX 9 ¶ 28, and Table 4.
19          December 29, 2020, there were
20          10,560 orders were mailed more
21          than 30 days after their “paid_at”
22          date, totaling $910,428.45.
23        395.    Defendants also failed to          PX 9, Att. A (Violation Summary,
24          ship significant numbers of              Scenario 1, Requests 1-13, evaluating
25          shipments within the “processing         known processing times and
26          times” claimed on the website.           assuming default of 10 days shipment
27                                                   claim for all other periods); PX 9,
28
                                                96
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1                                                    Att. A (Violation Summary, Scenario
2                                                    4, Requests 15-19, evaluating known
3                                                    processing times and assuming
4                                                    default MITOR 30-day shipment
5                                                    claim for all other periods).
6         396.    Only 1,494 orders out of the       See PX 9, Att. A (Violation
7           43,749 were shipped within the           Summary, Total Orders under
8           represented shipment times.              Scenario 5 is 43,749; Complete Order
9                                                    Violations 39,729; 2,502 no shipment
10                                                   data; Partial Violations 7; Orders with
11                                                   Negative Times, 17; 1,494 on time).
12        397.    Defendants refunded orders         See PX 9 ¶ 31 ($2,933,692.11 in total
13          totaling $253,786.42.                    sales from March 1 through August
14                                                   31, 2020) and ¶ 57 ($2,679,905.69 is
15                                                   the total amount less refunds).
16        398.    Thus, the total amount of          PX 9 ¶ 57 (gross amount less
17          gross revenues less refunds is at        refunds).
18          least $2,679,905.69
19
20        399.    The total amount of late,          PX 9 ¶ 33.
21          unrefunded shipments of hand
22          sanitizer and PPE is $2,449,881.92.
23
24        400.    DJN sold $439,657.95 in            See PX 9 ¶ 55 (sanitizer paid amount
25          hand sanitizer between March and         and tax and shipping cost).
26          August 2020.
27
28
                                                97
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1         401.    The total refunds and             PX 9 ¶ 55.
2           discounts for DJN sales was
3           $33,324.65, thus the net revenue
4           was $406,333.30 between March
5           and August 2020.
6         402.    Defendants did not produce        PX 16, Att. Q, 12/9/21 JN Dep. Tr.
7           records sufficient to determine the     67:4-16 (shipped order status is based
8           date for each DJN hand sanitizer        on generating and creating a shipping
9           order shipments, as defined in          label); 67:17-21 (shipped date is the
10          MITOR, §435.1(d), because their         date the label is created); 96:3-22
11          records only reflect the date a label   (ship date in Big Commerce is the
12          was created, and they did not           date when the label is created not
13          always ship the date the label was      when it was put into the mail); 102:6-
14          generated.                              103:2 (RT testifying as corporate
15                                                  representative on behalf of DJN, see
16                                                  PX 16, Att. Q, 12/9/20 JN Dep. Tr.
17                                                  101:14-19).
18     ADDITIONAL FACTS CITED IN BRIEF
19
          403.    Clicking the links displayed      PX 16, Att. L, 8/17/21 RT Dep. Tr.
20
            with the Google AdWords ads             60:21-61:5; see also id., Att. N2 at 3-
21
            would bring consumers to the            4, RT-QYK 21 and Att. N14 at 1,
22
            Glowyy website.                         RT-QYK 61 (showing the landing
23
                                                    page address associated with the
24
                                                    Google ads).
25
26
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                                               98
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1         404.        Clicking the links displayed     PX 16, Att. N2, RT-QYK 21 at 4.
2            with the Google AdWords ads
3            brought customers to the webpage
4            where Defendants offered hand
5            sanitizer and other PPE for sale.
6         405.        Defendants did not produce       See PX 16, Att. H at 8, QYK ROG
7            records showing systems or                Resp. No. 1, 3, and 9 (admitting there
8            procedures in place to ensure the         were no written policies); PX 16, Att.
9            timely shipment of orders.                H, QYK ROG Resp. No. 3 (“QYK’s
10                                                     employees were instructed by Rakesh
11                                                     Tammabattula to handle any shipping
12                                                     time disputes on a case by case
13                                                     basis”).
14        406.        Defendants admit they did        PX 16, Att. E, QYK RFA Resp. No.
15           not maintain shipping records             81; PX 16, Att. E, QYK RFA Resp.
16           sufficient to track shipping for any      No. 82 (Defendants do not have
17           hand sanitizer between March 3,           records documenting the shipping
18           2020 and when the complaint was           date for orders placed between March
19           filed.                                    3, 2020 and August 4, 2020); PX 16,
20                                                     Att. E, QYK RFA Resp. No. 83
21                                                     (Shopify does not maintain a shipping
22                                                     date in its database); PX 16, Att. E,
23                                                     QYK RFA Resp. No. 84 (admit that it
24                                                     did not maintain records sufficient to
25                                                     track shipping times during the
26                                                     relevant period).
27
28
                                                  99
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1         407.        Defendants further admit         PX 16, Att. E, QYK RFA Resp. No.
2            that they do not know the shipping        81 (“QYK relies on mail carrier
3            date for orders because Defendants        records and that because certain
4            rely on mail carrier records which        records lapse after 90 days it does not
5            lapse after 90 days.                      know for certain the Shipping date of
6                                                      certain orders”).
7         408.        Shopify does not maintain a      PX 16, Att. E, QYK RFA Resp. No.
8            shipping date in its database.            83.
9
10
11        409.        Defendants also admit that       PX 16, Att. E, QYK RFA Resp. No.
12           they do not have any records              82
13           documenting the shipping date for
14           orders placed between March 3,
15           2020 and when the complaint was
16           filed.
17        410.        Defendants did not know          See PX 16, Att. E, QYK RFA Resp.
18           whether any particular order had          Nos. 86-87 (could not intercept orders
19           shipped once the shipping labels          whose shipping label generated for
20           had been created.                         empty boxes);
21        411.        In numerous instances,           PX 16, Att. E, QYK RFA Resp. No.
22           Defendants printed shipping labels        86; PX 16, Att. F, RT RFA Resp. No.
23           to place in stacks or empty boxes         30.
24           awaiting shipment and did not
25           immediately ship the ordered
26           items.
27
28
                                                 100
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1         412.        QYK informed customers          PX 16, Att. E, QYK RFA Resp. No.
2            who canceled orders but whose            No. 90.
3            orders the company could not
4            intercept prior to shipping that the
5            customer could only get a refund
6            once the customer returned the
7            items.
8         413.        Tammabattula knew that          PX 16, Att. F, RT RFA Resp. No. 34.
9            QYK informed customers who
10           canceled orders but whose orders
11           QYK could not intercept prior to
12           shipping that the customer could
13           only get a refund once the
14           customer returned the items.
15        414.        When consumers asked for        PX 1, Att. Z at 15, 17, 49, 135, 151,
16           refunds or cancellations,                157, 171, 189, 207, 216, 222; PX 1,
17           Defendants repeatedly stated that        Att. Y at 50, 53, 72, 85, 87, 108, 109,
18           items had to be rejected, refused, or 110, 113; PX 16, Att. Y.
19           returned to sender, because they
20           had no way of knowing whether
21           the item was still in the warehouse,
22           or whether it had actually been
23           placed into the hands of a mail
24           carrier.
25
26
27
28
                                                101
     Case 8:20-cv-01431-PSG-KES Document 136 Filed 02/15/22 Page 103 of 112 Page ID
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1         415.     Defendants admit they              PX 16, Att. E, QYK RFA Resp. No.
2            shipped items consumers had              88; PX 16, Att. F, RT RFA Resp. No.
3            cancelled and did not want because 2 (admit shipped hand sanitizer who
4            they could not intercept these           had canceled their orders); PX 16,
5            orders before they were mailed.          Att. E, QYK RFA Resp. No. 87; PX
6                                                     16, Att. F, RT RFA Resp. No. 31
7                                                     (admit could not intercept).
8         416.     Tammabattula knew that             PX 16, Att. F, RT RFA Resp. No. 33.
9            QYK did not issue refunds for
10           some customers’ hand sanitizer
11           orders that it could not intercept.
12        417.     QYK asked customers to pay PX 16, Att. E, QYK RFA Resp. No.
13           for merchandise it delivered after       91.
14           the customer canceled the order.
15
16        418.     Defendants admit they knew         PX 16, Att. E, QYK RFA Resp. No.
17           consumers were having difficulty         99; PX 16, Att. F, RT RFA Resp. No.
18           finding hand sanitizer and that          No. 38; see also PX 16, Att. H, QYK
19           anticipated demand was volatile          ROG Amended Resp. No. 1
20           and unpredictable                        (admitting that order volume was
21                                                    volatile, which affected shipment
22                                                    times); PX 16, Att. H, QYK ROG
23                                                    Amended Resp. No. 3 (“Due to
24                                                    Covid-19 and the uncertainties
25                                                    surrounding the pandemic, the
26                                                    anticipated demand for hand sanitizer
27
28
                                                102
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1                                                     was extremely volatile and difficult to
2                                                     anticipate.”).
3
4
5         419.      Defendants admit they could PX 16, Att. E, QYK RFA Resp. No.
6            not reliably tell when orders would      109; see also PX 16, Att. H, QYK
7            be fulfilled.                            ROG Resp. No. 1 (“A litany of
8                                                     factors and unforeseeable scenarios
9                                                     affected Responding Party’s ability to
10                                                    ship its products.”).
11        420.      Defendants admit they had         PX 16, Att. E, QYK RFA Resp. No. 6
12           no prior experience selling hand         (admitting QYK had not sold hand
13           sanitizer                                sanitizer prior to March 3, 2020); see
14                                                    PX 16, Att. K, 8/16/21 RT Dep. Tr.
15                                                    149:17-150:10 (discussing how
16                                                    Defendants began the hand sanitizer
17                                                    business through Glowyy).
18        421.      Defendants admit their            PX 1, Att. Z at 5, 15, 33, 36, 49, 160,
19           fulfillment system was woefully          161, 168, 167, 175, 176, 180, 210;
20           (and admittedly) unprepared for the PX 16, Att. K, 8/16/21 RT Dep. Tr.
21           volume of orders                         161:19-25) (“when we started selling
22                                                    the hand sanitizer around the Glowyy
23                                                    e-commerce platform, and we saw the
24                                                    orders come in, and we needed a lot
25                                                    more help than what I had originally
26                                                    anticipated”); PX 16, Att. X (ticket id
27                                                    2592731 [“just due to the delay of
28
                                                103
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1                                                    previous orders that’s why it’s still
2                                                    sitting in the warehouse waiting for
3                                                    the older order to be shipped out”],
4                                                    1487100 [“Due to an overwhelming
5                                                    number of orders, we are a little
6                                                    behind on our fulfillment”]); PX 16,
7                                                    Att. AF (“warehouse is extremely
8                                                    backed on some orders”).
9         422.     Defendants did not pack           PX 16, Att. AE; PX 16, Att. R6-7, JN
10           hand sanitizer appropriately,           53, 54; Att. Q, 12/9/21 JN Dep. Tr.
11           leading to broken and leaking           175:8-186:20 (discussing leaking and
12           bottles, a problem they quickly         broken bottles).
13           became aware of and one that
14           continues to present.
15        423.     Innovity is a company             PX 16, Att. L, 8/17/21 RT Dep. Tr.
16           owned by Rakesh Tammabattula.           119:19-25.
17
18
19        424.     Defendant Tammabattula            PX 16, Att. L, 8/17/21 RT Dep. Tr.
20           used Innovity to ship hand sanitizer 119:19-25.
21           to the U.S. from China.
22
23        425.     Defendant Tammabattula            PX 16, Att. L, 8/17/21 RT Dep. Tr.
24           used Innovity to ship empty hand        106:10-24.
25           sanitizer bottles to Sainnocare to be
26           labeled for sale by Glowyy.
27
28
                                               104
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1      NEED FOR INJUNCTIVE RELIEF
2
          426.     Defendants did little to put     See PX 16, Att. R3, JN 45 (recent
3
             into place systems and procedures      complaints of not being notified of
4
             to prevent a reoccurrence of similar backordered items; customers
5
             harms.                                 contacted company to complain of
6
                                                    delays); Att. R6, JN 53 at 2 (August
7
                                                    2021 complaint about leaking bottles,
8
                                                    company writes “We still have issues
9
                                                    with leaking bottles in transit.”); id. at
10
                                                    3 (9/6/21 email “We still have a
11
                                                    challenge over shipping packaging.
12
                                                    I’m not sure if we are using padded
13
                                                    envelopes but if we are they do not
14
                                                    work for bottles with liquid or gel as
15
                                                    they are getting squashed en-route
16
                                                    and contents pouring out. I suggest a
17
                                                    box of some sort.”); Att. R8 at 3, JN
18
                                                    55 (9/2021 email addressing
19
                                                    consumer complaint of wrong items).
20
          427.     Defendants continue to sell      PX 1, Freeman Decl., Att. U; see also
21
             hand sanitizer and PPE through         PX 16, Att. Q, 12/9/21 JN Dep. Tr.
22
             DJN, as well as dietary                212:22-213:13 (discussing PCA
23
             supplements.                           wipes products available on the
24
                                                    drjnatural.com website); see also
25
                                                    213:14-215:9 (denying making
26
                                                    claims about the product on the
27
                                                    website).
28
                                              105
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1         428.        Defendants continue to sell     PX 16, Att. R3, JN 45 (recent
2            backordered items without                complaints of not being notified of
3            notifying consumers that the items       backordered items; customers
4            are not in stock, and still seemingly contacted company to complain of
5            take more than 30 days to ship           delays).
6            items.
7         429.        Defendants still do not send    PX 16, Att. R6, JN 53 at 2 (August
8            the goods consumers ordered by           2021 complaint about leaking bottles,
9            sending leaking and poorly               company writes “We still have issues
10           packaged materials.                      with leaking bottles in transit.”); id. at
11                                                    3 (9/6/21 email “We still have a
12                                                    challenge over shipping packaging.
13                                                    I’m not sure if we are using padded
14                                                    envelopes but if we are they do not
15                                                    work for bottles with liquid or gel as
16                                                    they are getting squashed en-route
17                                                    and contents pouring out. I suggest a
18                                                    box of some sort.”); Att. R8 at 3, JN
19                                                    55 (9/2021 email addressing
20                                                    consumer complaint of wrong items).
21        430.        FTC staff received multiple     PX 15, Guo Declaration; PX 16,
22           complaints from small business           Johnson Decl. ¶ 45.
23           customers regarding materially
24           deceptive claims about Defendants’
25           newest product—disinfecting
26           wipes.
27
28
                                                106
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1         431.     Defendants previously                PX 2, Rottner Decl., Att. O at 1; see
2            marketed dietary supplements with          also PX 2, Att. AA (Dr. J
3            deceptive claims like “Many late-          “SimpleSlim” ads making claims
4            stage cancer patients look to Dr. J’s such as “You could lose 5-10 pounds
5            Natural supplements and cold               in a Month!!!” for a dietary
6            pressed judices to help fight cancer       supplement).
7            the all natural way” and “Our CBD
8            collection is clinically proven to
9            reduce pain, anxiety, and over 200
10           other medical problems.”
11        432.     Defendants also heavily              PX 1, Freeman Decl., Att. B at 7, 11.
12           marketed hand sanitizer as “Made
13           in the USA”
14
15        433.     Consumers relied on the              PX 16, Att. R8 (emails from
16           Made in the USA claim when                 customers seeking “Made in the
17           purchasing hand sanitizer from             USA” hand sanitizer).
18           Defendants.
19        434.     Defendants’ records show             Decl. Molly Smith; PX 1, Freeman
20           they had very little hand sanitizer        Decl. ¶¶ 95-101.
21           that was domestically produced
22
23        435.     Defendants had no way to             PX 16, Att. Q, 12/9/21 JN Dep. Tr.
24           identify which hand sanitizer was          187:15-24 (stating that bottles either
25           domestically sourced to ensure that state “Made in the USA” or “globally
26           customers who purchased Made in            sourced”), but see, e.g., PX 16, Att.
27           the USA items received them.               T1 at 13-14, 39, 41 (photo of label for
28
                                                  107
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1                                                  hand sanitizer produced in India only
2                                                  showing “Distributed Exclusively By:
3                                                  DrJsNatural 10517 W. Garden Grove
4                                                  Blvd, Garden, CA”); PX 2, Att. Y at
5                                                  11-13 (photos from undercover buy
6                                                  showing “Distributed By: QYK
7                                                  Brands, LLC, no markings indicating
8                                                  origin); PX 2, Att. M at 7-17 (hand
9                                                  sanitizer has no marking showing
10                                                 either Made in USA or globally
11                                                 sourced).
12        436.     On March 13, 2020,              PX 16, Att. M, 12/7/21 RT Dep. Tr.
13           Facebook disabled the hand            111:7-23; id. Att. N13, RT-QYK 58;
14           sanitizer ad campaign for violating   see also PX 1, Att. W (Facebook
15           the “Unacceptable Busines             Unacceptable Business Practices
16           Practices Policy”.                    Policy states: “Ads must not promote
17                                                 products, services, schemes or offers
18                                                 using deceptive or misleading
19                                                 practices, including those meant to
20                                                 scam people out of money or personal
21                                                 information.”).
22        437.     The Facebook Ad Account         PX 16, Att. M, 12/7/21 RT Dep. Tr.
23           that was running the Glowyy ads       136:9-16; id. Att. N13, RT-QYK 61.
24           was suspended from approximately
25           March 14, 2020 and continues to
26           be suspended.
27
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                                             108
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1         438.     Immediately after the               PX 16, Att. M, 12/7/21 RT Dep. Tr.
2            Facebook Ad Account was                   136:17-137:7; id. Att. N8, RT-QYK
3            suspended, Tammabattula                   51; PX 1, Att. AA at 5.
4            attempted to hire a freelancer who
5            had an established Facebook Ad
6            Account.
7         439.     Defendants hired freelancers        PX 16, Att. M, 12/7/21 RT Dep. Tr.
8            to use their own established              79:3-20.
9            accounts to continue advertising
10           and used a different Google
11           AdWords account to circumvent
12           Google’s suspension.
13        440.     Defendants also show little         PX 16, Att. M, 12/7/21 RT Dep. Tr.
14           regard for the law. Defendants            182:18-183:21 (admitting declared as
15           purposefully concealed the true           something different to bypass
16           nature of the goods they were             restrictions on Hazmat goods); 186:7-
17           importing into the U.S. (hand             11 (changed the description).
18           sanitizer) to circumvent export and
19           safety restrictions for hazardous
20           materials.
21        441.     Defendants’ total gross             PX 1 ¶¶ 93-99, Att. AC.
22           investment for domestic hand
23           sanitizer was approximately
24           $184,000, compared to over $1.5
25           Million dollars for hand sanitizer
26           sourced through China.
27
28
                                                 109
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1         442.       Defendants stated “We make PX 2, Att. AD at 34; Att. AB at 1.
2            all our supplements and hand
3            sanitizer here in the US” on the DrJ
4            Facebook page on March 18 2020;
5            and “MADE IN USA” on the
6            Glowyy Twitter page on March 9,
7            2020.
8         443.       Defendants did not              PX 16, Att. H at 7, QYK ROG Resp.
9            automatically cancel orders and         No. 8 (when asked to identify all
10           provide a refund as required under      automatic cancellations and identify
11           MITOR, § 435.2(c)(5).                   such orders, Defendants responded
12                                                   that many customers were granted
13                                                   refunds when asked, or through
14                                                   Shopify, or they cancelled orders
15                                                   when they anticipated they would no
16                                                   longer stock the product, but they did
17                                                   not identify any orders they
18                                                   automatically canceled in response to
19                                                   shipment delays).
20
21                                          Respectfully submitted,
22
23 Dated: February 14, 2022                    /s/ Katherine Johnson
                                            KATHERINE E. JOHNSON, admitted pro hac vice
24
                                            KRISTY M. TILLMAN, admitted pro hac vice
25                                          CHRISTOPHER ERICKSON, admitted pro hac
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